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                  Exhibit B
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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



 UMG RECORDINGS, INC., et al.,

                  Plaintiffs,            Case No. 8:19-cv-710-MSS-TGW

 v.                                      ______ Evidentiary
                                         __x___ Trial
 BRIGHT HOUSE NETWORKS, LLC              ______ Other

                  Defendant.




                  DEFENDANT’S EXHIBIT LIST
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Exhibit     Date         Date             Witness                 Objections/                Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                  Admissions
DX0001                            Chatterjee, Ikezoye,        NA, F, H, INC, 403-P,   Source Code
                                  Wold                             NP, CONF
DX0002                            Chatterjee, Ikezoye,        NA, F, H, INC, 403-P,   Source Code
                                  Wold                             NP, CONF
DX0003                            Chatterjee, Ikezoye,        NA, F, H, INC, 403-P,   Source Code
                                  Wold                             NP, CONF
DX0004                            Chatterjee, Ikezoye,        NA, F, H, INC, 403-P,   Source Code
                                  Wold                             NP, CONF
DX0005                            Chatterjee, Ikezoye,        NA, F, H, INC, 403-P,   Source Code
                                  Wold                             NP, CONF
DX0006                            Chatterjee, Ikezoye,        NA, F, H, INC, 403-P,   Source Code
                                  Wold                             NP, CONF
DX0007                            Chatterjee, Ikezoye,        NA, F, H, INC, 403-P,   Source Code
                                  Wold                             NP, CONF
DX0008                            Chatterjee, Ikezoye,        NA, F, H, INC, 403-P,   Source Code
                                  Wold                             NP, CONF
DX0009                            Chatterjee, Ikezoye,        NA, F, H, INC, 403-P,   Source Code
                                  Wold                             NP, CONF
DX0010                                                                                Withdrawn
DX0011                            Ikezoye, Wold                         -             RIAA Content ID Services July 2012

DX0012                            Ikezoye, Wold                 NA, F, H, 403-P       Email from Vance Ikezoye to
                                                                                      support@audiblemagic.com re:
                                                                                      Conference call -
                                                                                      RIAA/MarkMonitor - Verification
                                                                                      Process
DX0013                            Snow, Ikezoye, Wold           NA, F, H, 403-P       Email from Vance Ikezoye to
                                                                                      Victoria Sheckler re:
                                                                                      MarkMonitor/Audible Magic/RIAA
                                                                                      Project, Ikezoye Dep., Exh. 15.

DX0014                                                                              Withdrawn
DX0015                            Ikezoye, Wold                NA, F, H, 403-P, R Bug report
DX0016                                                                              Withdrawn
DX0017                            Chatterjee, Ikezoye,                   -          Audible Magic OEM Application
                                  Wold                                              Programming Guide and Customer
                                                                                    Support Information
DX0018                            Chatterjee, Ikezoye,        NA, F, H, 403-P, MIL, Audible Magic Transaction Log
                                  Wold, Snow                           INC          spreadsheet
DX0019                            Ikezoye, Wold                NA, F, H, R, 403-P Audible Magic spreadsheet of
                                                                                    Invoices to RIAA




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Exhibit     Date         Date             Witness                Objections/               Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                 Admissions
DX0020                            Ikezoye, Wold                NA, F, H, R, 403-P   Email from Julea Casel to Victoria
                                                                                    Sheckler re: MarkMonitor/Audible
                                                                                    Magic/RIAA Project

DX0021                            Ikezoye, Wold                        H          Email from Vance Ikezoye to Marcia
                                                                                  Appet and AM Support re:
                                                                                  MarkMonitor/Audible Magic/RIAA
                                                                                  Project
DX0022                            Chatterjee, Ikezoye,        NA, F, H, 403-P, R, Email from Kaleigh Miller to Julea
                                  Wold                               1002         Casel re: Duplicates in AM Database

DX0023                                                         NA, F, H, 403-P, R   Audible Magic Reference Track
                                                                                    Confirmation Test Project
DX0024                                                                              Withdrawn
DX0025                            Ikezoye, Wold                 NA, F, H, 403-P     Email from Julea Casel to Victoria
                                                                                    Sheckler, Jeremy Landis, and Teresa
                                                                                    Denver re: Updated p2p Track List

DX0026                            Ikezoye, Wold                NA, F, H, R, 403-P   Email from Julea Casel to Jay
                                                                                    Friedman re: MarkMonitor/Audible
                                                                                    Magic/RIAA Project

DX0027                            Jang, Strong, Bell,                  -            Content Registration
                                  Chatterjee, Ikezoye,
                                  Wold
DX0028                            Ikezoye, Wold, Snow         NA, F, H, 403-P, INC Email from Julea Casel to Nancy
                                                                                   Kang re: Am-ID request for RIAA
                                                                                   program
DX0029                            Ikezoye, Wold, Snow         NA, F, H, 403-P, INC RIAA Approved Tracks with Audible
                                                                                   Magic IDs
DX0030                            Ikezoye, Wold, Snow           NA, F, H, 403-P    Email from Lou Kvitek to Julea Casel
                                                                                   and Nancy Kang re:
                                                                                   MarkMonitor/Audible Magic/RIAA
                                                                                   Project
DX0031                            Ikezoye, Wold                     NA, F, H       Email from Julea Casel to Marcia
                                                                                   Appert and AM Support re:
                                                                                   MarkMonitor/Audible Magic/RIAA
                                                                                   Project
DX0032                            Chatterjee, Ikezoye,         NA, F, H, 403-P, R Email from Julea Casel to Lou Kvitek
                                  Wold                                             and Marcia Appert re: RIAA
                                                                                   (Markmonitor) still a customer?

DX0033                            Ikezoye, Wold, Snow         NA, F, H, 403-P, INC Email from Julea Casel to Sam
                                                                                   Bahun re: RIAA Catalog

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Exhibit     Date         Date              Witness                Objections/              Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                   Admissions
DX0034                            Ikezoye, Wold, Snow          NA, F, H, 403-P, INC RIAA p2p Catalog

DX0035                            Ikezoye, Wold, Snow                   H            Email from Julea Casel to Slawomir
                                                                                     Paszkowski, Jeremy Landis, and Sam
                                                                                     Bahun re: MarkMonitor Credential
                                                                                     Issue
DX0036                                                                               Withdrawn
DX0037                            Chatterjee, Ikezoye,         NA, F, H, 403-P, MIL, Transaction Data spreadsheet
                                  Wold, Snow                            INC
DX0038                            Chatterjee, Ikezoye,         NA, F, H, INC, 403-P, Source Code
                                  Wold                              NP, CONF
DX0039                            Frendberg                               -          Final Copyright Warning Process
                                                                                     Description
DX0040                            Kuszmar, Frendberg,                     -          Bright House Networks Abuse
                                  Almeroth                                           Playbook
DX0041                            Strong                                  -          CCH I, LLC Amendment No. 3 to
                                                                                     Form S-4 filed on August 19, 2015

DX0042                            Strong                                -           Bright House Networks, LLC and
                                                                                    Subsidiaries Consolidated Financial
                                                                                    Statements December 31, 2013 and
                                                                                    2012
DX0043                            Strong                                -           Bright House Networks, LLC and
                                                                                    Subsidiaries Consolidated Financial
                                                                                    Statements December 31, 2015,
                                                                                    2014 and 2013
DX0044                            Snow, Frendberg                       -           Customer Complaint data
DX0045                            Knudsen, Strong                    ID, NB         ECAT data spreadsheet
DX0046                            Knudsen, Strong                       -           Bright House Networks – Account
                                                                                    Level Invoice Data for Subscribers
                                                                                    Accused of Infringement

DX0047                            Almeroth, Frendberg,                  -           Bright House Networks' High Speed
                                  Sutterby                                          Data Acceptable Use Policy

DX0048                            Sutterby, Almeroth                   W            Bright House Networks webpage,
                                                                                    Our Policies High Speed Data
                                                                                    Acceptable Use Policy

DX0049                            Almeroth, Frendberg,                  -           Bright House Networks' High Speed
                                  Sutterby                                          Data Acceptable Use Policy




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Exhibit     Date         Date            Witness                Objections/              Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX0050                            Almeroth, Frendberg,        NTP, NTD (Cover     Bright House Networks Website,
                                  Sutterby                         Page)          Bright House Networks' User
                                                                                  Agreement and Privacy Policy

DX0051                            Bergman, Frendberg,         NTP, NTD (Cover     Bright House Networks website,
                                  Hall                             Page)          "What is Bright House Networks'
                                                                                  anti-piracy program?"

DX0052                            Frendberg                          H            Case ID comments by Ash Ferrar

DX0053                            Frendberg                          H            Case ID comments by Ash Ferrar

DX0054                            Frendberg                   H, ID, NTP (Cover   Customer comment denying
                                                              Page), NTD (Cover   infringement
                                                                     Page)
DX0055                            Frendberg                   H, ID, NTP (Cover   Customer comment denying
                                                              Page), NTD (Cover   infringement
                                                                     Page)
DX0056                            Kuszmar, Frendberg                   H          Case ID comments by RAKuszmar

DX0057                            Frendberg                          H            Case ID comments by Ash Ferrar

DX0058                            Bergman                            H            Email from Kathleen Oneil-Rowett
                                                                                  to Nomi Bergman re: RIAA chief:
                                                                                  ISPs to start policing copyright by
                                                                                  July 1
DX0059                            Droessler, Frendberg               H            Email from Tim Frendberg to Chris
                                                                                  Droessler and Michael Tomasullo re:
                                                                                  Copyright Administration (ECAT)
                                                                                  volume
DX0060                            Frendberg                           -           Letter from Bright House Networks
                                                                                  to Customer, Important Information
                                                                                  regarding your High Speed Internet
                                                                                  service from Bright House Networks


DX0061                            Strong, Knudsen                     -           BHN Recurring Residential ARPC per
                                                                                  BHN Internal Reporting Packages

DX0062                            Strong, Knudsen                     -           Legacy BHN Monthly Residential
                                                                                  Revenue per Residential Customer
                                                                                  as reported in Consolidated Charter
                                                                                  Trending Schedules



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Exhibit     Date         Date             Witness                   Objections/             Description of Exhibit
 No.      Identified   Admitted                                     Stipulated
                                                                    Admissions
DX0063                            Strong, Knudsen                        -           BHN Recurring Residential ARPC per
                                                                                     BHN Internal Reporting Packages

DX0064                            Frendberg, Droessler                   H         Email from Chris Droessler to Tim
                                                                                   Frendberg re: Third Party Copyright
                                                                                   Claim
DX0065                            Frendberg                             ID, H      Notice of termination
DX0066                            Snow, Frendberg                 INC, NTP (Cover Security and Abuse Monthly Report,
                                                                 Page), NTD (Cover February 2012
                                                                       Page)
DX0067                            Futch, Frendberg,                       H        Email from Marva Johnson to Tim
                                  Johnson                                          Frendberg re: RIAA Email Example
                                                                                   from Indianapolis
DX0068                            Snow, Droessler,                        H        Email from Tim Frendberg to Marva
                                  Frendberg, Johnson                               Johnson re: ECAT will be in
                                                                                   production as of 2/27 @ Noon

DX0069                            Frendberg, Futch,                      H           Email from Tim Frendberg to
                                  Almeroth, Strong.                                  William Futch et al re: copyright
                                  Johnson                                            notices, your opinion?
DX0070                            Snow, Frendberg                 INC, NTP (Cover BHN Security and Abuse Monthly
                                                                 Page), NTD (Cover Report, February 2013
                                                                       Page)
DX0071                            Snow, Frendberg                 INC, NTP (Cover BHN Security and Abuse Monthly
                                                                 Page), NTD (Cover Report, March 2013
                                                                       Page)
DX0072                            Sinnreich, Frendberg                  INC          BHN Security and Abuse Monthly
                                                                                     Report April 2013
DX0073                            Futch                         H, NTP (Cover Page), Email from William Futch to Tori
                                                                 NTD (Cover Page) Miller re: Walled Garden

DX0074                            Frendberg, Almeroth,                   H           Email from Michael Tomasullo to
                                  Strong                                             Tim Frendberg re: An Important
                                                                                     Message About Your High Speed
                                                                                     Internet Service
DX0075                            Frendberg, Almeroth,                   H           Appointment Invitation from Tim
                                  Strong, Snow                                       Frendberg to Trace Hollifield re:
                                                                                     discuss copyright infringement

DX0076                            Frendberg                     H, NTP (Cover Page), Email from Tim Frendberg to Trave
                                                                 NTD (Cover Page) Hollifield re: copyright complaint
                                                                                     monitoring, Account Number
                                                                                     4183319-01



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Exhibit     Date         Date             Witness                   Objections/            Description of Exhibit
 No.      Identified   Admitted                                     Stipulated
                                                                    Admissions
DX0077                            Futch                              H, 403-P        Email from William Futch re Arris
                                                                                     WPS vulnerability
DX0078                            Frendberg                              H           Letter from subscriber to Tim
                                                                                     Frendberg re notices of
                                                                                     infringement
DX0079                            Frendberg, Almeroth,                   H           Email from Tim Frendberg to
                                  Strong, Snow                                       Michael Tomasullo re: ECAT Dash
                                                                                     Stats
DX0080                            Frendberg                              H           Email from Tim Frendberg re: A
                                                                                     Request
DX0081                            Frendberg, Almeroth,                   H           Email and attachments from Tim
                                  Strong, Snow                                       Frendberg to Michael Tomasullo re:
                                                                                     all complaints, and the next high
                                                                                     volume batch
DX0082                            Frendberg                     H, NTP (Cover Page), Email from Tim Frendberg to
                                                                 NTD (Cover Page) subscriber

DX0083                            Frendberg, Hughes                      H          Email from Michael Tomasullo to
                                                                                    Ronald Hughes and Tim Frendberg
                                                                                    re: Copyright Letter Sent to Account
                                                                                    559149308
DX0084                            Frendberg                           H, INC        Email from Tim Frendberg to Michel
                                                                                    Champagne, Dan DiFiore, and
                                                                                    Lauren Mott re: disconnect notice
                                                                                    for Acct Nbr 1866125-01

DX0085                            Frendberg                     H, INC, NTP (Cover Letter from Tim Frendberg to
                                                                Page), NTD (Cover subscriber re: disconnection
                                                                      Page)
DX0086                            Frendberg, Almeroth,                H, INC       Email and attachments from Tim
                                  Strong, Snow                                     Frendberg to Michael Tomasullo re:
                                                                                   template for final warning

DX0087                            Frendberg                              H         Letter from subscriber to Tim
                                                                                   Frendberg re notices of
                                                                                   infringement
DX0088                            Frendberg, Almeroth,                   H         Email from Tim Frendberg to John
                                  Strong                                           Hendrickson re: Customer Security
                                                                                   B246
DX0089                            Strong, Frendberg               INC, NTP (Cover Bright House Networks
                                                                 Page), NTD (Cover Presentation: Security and Abuse
                                                                       Page)
DX0090                            Frendberg                              H         Email from Tim Frendberg re:
                                                                                   disconnect action

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Exhibit     Date         Date            Witness                   Objections/             Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                   Admissions
DX0091                            Frendberg                            H            Email from Tim Frendberg to
                                                                                    Michael Tomasullo re: disconnect
                                                                                    actions
DX0092                            Frendberg, Almeroth                   H           Email from Michael Tomasullo to
                                                                                    Tim Frendberg re: Multiple E-mails
                                                                                    Received
DX0093                            Frendberg                            H, W         Email from Antonio Smith re
                                                                                    account 551511307
DX0094                            Frendberg                    H, NTP (Cover Page), Email from Tim Frendberg to Laurie
                                                                NTD (Cover Page) Rowlett re: security practices

DX0095                            Frendberg                    H, NTP (Cover Page), Email from Michael Tomasullo to
                                                                NTD (Cover Page) Tim Frendberg re: customer
                                                                                    complaint
DX0096                            Frendberg                             H           Email from Kathleen Rowett re
                                                                                    Copyright Infringement Serve
                                                                                    ticket#: 824346
DX0097                            Frendberg                             H           Email from Tim Frendberg re:
                                                                                    (Redacted) Acct
DX0098                            Frendberg                             H           Email from Ash Ferrar to Michael
                                                                                    Tomasullo re: Redacted

DX0099                            Frendberg, Kuszmar                    H           Email from Tim Frendberg re:
                                                                                    Copyright Termination
DX0100                            Frendberg                        H, NB, NTP       Email from Michael Tomasullo re
                                                                                    HBO Notice Processing Inquiry

DX0101                            Frendberg                             H           Email from Tim Frendberg re: BHN-
                                                                                    BHAM Escalation 5/2/2015
DX0102                            Frendberg                            W            Bright House Networks
                                                                                    Memorandum re: March 2013
                                                                                    Monrthly Report - Customer Care

DX0103                            Frendberg, Snow                    ID, INC        Security and Abuse monthly Report,
                                                                                    March 2012
DX0104                            Frendberg, Futch             H, NTP (Cover Page), Email from T. Frendberg to William
                                                                NTD (Cover Page) Futch re: copyright complaints

DX0105                            Frendberg                     NTP (Cover Page), Letter from T. Wilson re: Notice of
                                                                NTD (Cover Page), Termination - Bright House
                                                                      INC         Networks




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Exhibit     Date         Date             Witness                  Objections/            Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                   Admissions
DX0106                            Frendberg, Almeroth,                 H            Email from Tim Frendberg to Scott
                                  Strong, Snow                                      Horne, Kimberly Maki, and Lauren
                                                                                    Mott re: copyright letter, dated
                                                                                    September 25
DX0107                            Frendberg, Doda                   H, NB, NTP,     Email from Kimberly Maki to Gary
                                                                  Unredacted PPI    Doda and Tim Frendberg re:
                                                                                    copyright letter, dated September
                                                                                    25
DX0108                            Frendberg                         H, NB, NTP,     Email from Tim Frendberg to
                                                                Unredacted PPI, INC tampabay.bhninternetvoicesecurity
                                                                                    abuse@mybrighthouse.com re:
                                                                                    copyright letter, dated September
                                                                                    25
DX0109                            Frendberg                              H          Email from Michael Tomasullo re
                                                                                    disconnects from AUP violation

DX0110                            Frendberg                             H          Email from Michael Tomasullo re
                                                                                   disconnects from AUP violation

DX0111                            Droessler, Frendberg                  H          Email from Chris Droessler to Vonda
                                                                                   Chambers and Tim Frendberg re:
                                                                                   reporting ECAT
DX0112                            Frendberg, Futch,              H, NTD, NTP, NB   Email from T. Frendberg re:
                                  Johnson                                          Copyright complaints for February

DX0113                            Frendberg, Almeroth,                  H    Email from Michael Tomasullo to
                                  Strong, Snow                               Tim Frendberg re: termination of
                                                                             high speed
DX0114                            Frendberg                       H          Email from Tim Frendberg re HSI
                                                                             terminations
DX0115                            Frendberg, Futch, Strong NTP (Cover Page), Bright House Networks
                                                           NTD (Cover Page), Presentation: HSD Speed Changes,
                                                                 INC         February 8, 2016
DX0116                            Futch                           H          Email from William Futch to Steve
                                                                             Miron and Nomi Bergman re:
                                                                             Customer Care Monthly - March

DX0117                            Frendberg, Futch,                     H          Email from William Futch to Tim
                                  Almeroth, Strong                                 Frendberg re: Knotice emails form
                                                                                   ECAT
DX0118                            Frendberg, Almeroth                    -         ESAT data spreadsheet




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Exhibit     Date         Date               Witness               Objections/             Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0119                            Frendberg, Droessler                H            Email from Tim Frendberg to
                                                                                   Michael Tomasullo, Chris Droessler,
                                                                                   and Mike Battelle re:
                                                                                   Access/Reporting
DX0120                            Frendberg, Futch,                    H           Email from Tim Frendberg to
                                  Almeroth, Strong                                 William Futch re: March security
                                                                                   report
DX0121                            Johnson                              H           Email from Marva Johnson to
                                                                                   Kimberly Maki re: Security Policy
                                                                                   Blog Post
DX0122                            Doda, Frendberg                  H, NB, NTP      Email from Gary Doda to Kimberly
                                                                                   Maki re: screenshot of copyright
                                                                                   complaint notification

DX0123                            Bergman, Frendberg                   H           Email from Nomi Bergman to
                                                                                   Kathleen Oneil-Rowett re: RIAA
                                                                                   Email Example from Indianapolis

DX0124                            Doda, Frendberg                  H, NB, NTP      Email from Kimberly Maki to Gary
                                                                                   Doda re: RIAA Email Example from
                                                                                   Indianapolis
DX0125                            Bergman, Frendberg               H, NB, NTP      Email from Gary Doda to Kimberly
                                                                                   Maki re: RIAA Email Example from
                                                                                   Indianapolis
DX0126                            Doda, Frendberg                  H, NB, NTP      Email from Kimberly Maki to Gary
                                                                                   Doda re: Security Policy Blog Post

DX0127                            Bergman, Knudsen,                    H           Email and attachment from Andrew
                                  Strong                                           Maritneau to Steve Miron et al re:
                                                                                   Recap from tiers exec debrief

DX0128                            Bergman, Strong               NTP (Cover Page), Bright House Presentation: Bright
                                                                NTD (Cover Page), House Networks Residential High
                                                                      INC         Speed Internet Tiers

DX0129                            Strong, Frendberg, Futch NTP (Cover Page),       Bright House Presentation: Bright
                                                           NTD (Cover Page),       House Networks Speed Comparison
                                                                 INC
DX0130                            Strong, Frendberg, Futch NTP (Cover Page),       Bright House Presentation: Bright
                                                           NTD (Cover Page),       House Networks Residential High
                                                                 INC               Speed Internet Tiers




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Exhibit     Date         Date            Witness                 Objections/             Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX0131                            Bergman, Snow                    H, INC         Email from Kristi Kramersmeier to
                                                                                  Craig Cowden, Nomi Bergman,
                                                                                  Andre Martineau re: Draft for 9/9
                                                                                  exec debrief
DX0132                            Strong, Knudsen                      -          Bright House Networks Residential
                                                                                  High Speed Internet Tiers

DX0133                            Strong, Knudsen              NTP (Cover Page), Bright House Presentation: Bright
                                                               NTD (Cover Page), House Networks Network
                                                                     INC         Engineering Network Analytics

DX0134                            Strong, Knudsen              NTP (Cover Page), Bright House Presentation: Bright
                                                               NTD (Cover Page), House Networks Network
                                                                     INC         Engineering Procera & SamKnows

DX0135                            Strong, Knudsen                      -          Bright House Networks' Income
                                                                                  Statement spreadsheet
DX0136                            Frendberg, Almeroth,                 -          ECAT data, Bright House Ticket
                                  Strong, Snow                                    Data, Subscribers Receiving Three or
                                                                                  More Notices
DX0137                            Strong, Knudsen                      -          Charter Communications, Inc. Pro
                                                                                  Forma Customer Metrics
DX0138                            Strong, Knudsen                      -          Bright House Networks Monthly
                                                                                  Financial Package April 2016

DX0139                            Strong, Knudsen                      -          Bright House Networks Monthly
                                                                                  Financial Package December 2014

DX0140                            Strong, Knudsen                      -          Bright House Networks Monthly
                                                                                  Financial Package December 2015

DX0141                            Snow, Frendberg                     -           RIAA ESAT copyright tickets
DX0142                            Frendberg                           H           Letter from subscriber to Tim
                                                                                  Frendberg re notices of
                                                                                  infringement
DX0143                            Frendberg                         NP, NB        Letter from subscriber to Tim
                                                                                  Frendberg re notices of
                                                                                  infringement
DX0144                            Frendberg                           H           Letter from subscriber regarding
                                                                                  infringement notices
DX0145                            Frendberg                           H           Letter from subscriber regarding
                                                                                  infringement notices




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Exhibit     Date         Date            Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX0146                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0147                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0148                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0149                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0150                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0151                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0152                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0153                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0154                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0155                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0156                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0157                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0158                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0159                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0160                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0161                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0162                            Frendberg                     H, NB       Letter from subscriber regarding
                                                                            infringement notices

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Exhibit     Date         Date            Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX0163                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0164                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0165                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0166                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0167                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0168                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0169                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0170                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0171                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0172                            Frendberg                       NP        Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0173                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0174                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0175                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0176                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0177                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0178                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0179                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0180                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices

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Exhibit     Date         Date            Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX0181                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0182                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0183                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0184                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0185                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0186                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0187                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0188                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0189                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0190                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0191                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0192                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0193                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0194                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0195                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0196                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0197                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement



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Exhibit     Date         Date            Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX0198                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0199                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0200                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0201                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0202                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0203                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0204                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0205                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0206                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0207                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0208                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0209                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0210                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0211                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement




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Exhibit     Date         Date            Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX0212                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0213                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0214                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0215                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0216                            Frendberg                       H         Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0217                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0218                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0219                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0220                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0221                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0222                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0223                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0224                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0225                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0226                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0227                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement



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Exhibit     Date         Date            Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX0228                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0229                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0230                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0231                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0232                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0233                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0234                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0235                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0236                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0237                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0238                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0239                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0240                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0241                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0242                            Frendberg                     NP. NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0243                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices
DX0244                            Frendberg                     NP, NB      Letter from subscriber to Tim
                                                                            Frendberg re notices of
                                                                            infringement
DX0245                            Frendberg                       H         Letter from subscriber regarding
                                                                            infringement notices

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Exhibit     Date         Date              Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX0246                            Frendberg                       NP, NB      Letter from subscriber to Tim
                                                                              Frendberg re notices of
                                                                              infringement
DX0247                            Frendberg                         H         Letter from subscriber regarding
                                                                              infringement notices
DX0248                            Frendberg                         H         Letter from subscriber to Tim
                                                                              Frendberg re notices of
                                                                              infringement
DX0249                            Frendberg                         H         Letter from subscriber to Tim
                                                                              Frendberg re notices of
                                                                              infringement
DX0250                            Frendberg                         H         Letter from subscriber to Tim
                                                                              Frendberg re notices of
                                                                              infringement
DX0251                            Frendberg                         H         Letter from subscriber to Tim
                                                                              Frendberg re notices of
                                                                              infringement
DX0252                            Frendberg                         H         Letter from subscriber to Tim
                                                                              Frendberg re notices of
                                                                              infringement
DX0253                            Frendberg                         H         Letter from subscriber to Tim
                                                                              Frendberg re notices of
                                                                              infringement
DX0254                            Frendberg                       NP, NB      Letter from subscriber to Tim
                                                                              Frendberg re notices of
                                                                              infringement
DX0255                            Frendberg                         H         Letter from subscriber regarding
                                                                              infringement notices
DX0256                            Frendberg                       NP, NB      Letter from subscriber to Tim
                                                                              Frendberg re notices of
                                                                              infringement
DX0257                            Frendberg                         H         Letter from subscriber regarding
                                                                              infringement notices
DX0258                            Bergman, Johnson                  H         Email from Marva Johnson to Nomi
                                                                              Bergman re: RIAA Email Example
                                                                              from Indianapolis
DX0259                            Futch,                            H         Email from Marien Mitchell to
                                                                              Richard Brooks re: Monthly Report -
                                                                              CARE
DX0260                            Droessler, Frendberg              H         Email from Michael Tomasullo to
                                                                              Chris Droessler re: ECAT Customer
                                                                              ID




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Exhibit     Date         Date            Witness                 Objections/             Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX0261                            Droessler, Frendberg               H            Email from Chris Droessler to Tim
                                                                                  Frendberg and Michael Tomasullo
                                                                                  re: A Request
DX0262                            Frendberg, Almeroth,              H, INC        Email from Michael Tomasullo to
                                  Strong, Snow                                    Tim Frendberg re: Copyright
                                                                                  Complaints
DX0263                            Droessler, Frendberg                H           Email from Tim Frendberg to
                                                                                  Michael Tomasullo re: Some ECAT
                                                                                  Info
DX0264                            Snow, Frendberg                      -          Bright House Ticket Data,
                                                                                  Subscribers Receiving Three or
                                                                                  More Notices
DX0265                            Frendberg, Almeroth,                 -          ESAT Ticket Data spreadsheet
                                  Strong, Snow
DX0266                            Snow, Frendberg              NTP (Cover Page), Fraud, Security, and Abuse
                                                               NTD (Cover Page), Executive Briefing
                                                                     INC
DX0267                            Futch, Frendberg,                   H          Email from William Futch to Tim
                                  Almeroth, Strong, Snow                         Frendberg re: copyright program
                                                                                 discussion
DX0268                            Frendberg, Almeroth,               INC         Final Warning Tracking spreadsheet
                                  Strong, Snow
DX0269                            Strong, Knudsen                      -          Bright House Networks – Income
                                                                                  Statement, June 2016
DX0270                            Strong, Knudsen                      -          Bright House Networks – Income
                                                                                  Statement, December 2013

DX0271                            Strong, Knudsen                      -          Bright House Networks – Income
                                                                                  Statement, December 2014

DX0272                            Strong, Knudsen                      -          BHN Income Statement for the
                                                                                  period December 2015
DX0273                            Strong, Knudsen                      -          Bright House Networks – Income
                                                                                  Statement, December 2012

DX0274                            Strong, Knudsen                      -          Bright House Networks Offers and
                                                                                  Programs
DX0275                            Strong, Knudsen                      -          Bright House Networks – Residential
                                                                                  – Retail Pricing Data, Etc., 2015-
                                                                                  2016
DX0276                            Frendberg, Knudson,                INC          Bright House Networks Traffic
                                  McGarty                                         Overview Report 2012-06-04
DX0277                            Frendberg, Knudson,                INC          Bright House Networks Traffic
                                  McGarty                                         Overview Report 2012-08-20

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Exhibit     Date         Date               Witness              Objections/              Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX0278                            Droessler, Frendberg               H            Email from Jira Mailbox to Suzanne
                                                                                  Aliberti re: (WPR-1330) ECAT - Step
                                                                                  6 enhancements / automation

DX0279                            Droessler, Frendberg                H           Spreadsheet of Call Logs from Bright
                                                                                  House's ECAT System
DX0280                            Frendberg, Almeroth,               INC          Appointment Invitation from
                                  Strong                                          William Futch to Marva Johnson re:
                                                                                  Fraud Management Task Force
                                                                                  Reboot
DX0281                            Strong, Knudsen                      -          Bright House Networks' Income
                                                                                  Statement spreadsheet
DX0282                            Frendberg                           H           Email from T. Frendberg re:
                                                                                  disconnection
DX0283                            Abitbol                            R, H         Email from abuse@charter.net to
                                                                                  Matthew Nelson re: Notified:
                                                                                  Copyright Infringement Notice ID
                                                                                  #22228634836

DX0284                            Blietz                             R, H         Email from abuse@charter.net to
                                                                                  Matthew Nelson re: Notified:
                                                                                  Copyright Infringement Notice ID
                                                                                  #22228634852

DX0285                            Frendberg, Snow            R, H, NA, F, NTD, NTP Email from Matthew Nelson to
                                                                                   dicorpinternetsecurity, Bryan
                                                                                   Burroughs, and Matthew Nelson re:
                                                                                   CATS DMCA Summary for 2015-03-
                                                                                   08
DX0286                            Lesser                       NA, F, H, 403-P, R Evaluation of the MarkMonitor
                                                                                   AntiPiracy System
DX0287                            Knudsen, Strong                       -          BHN Residential Subscriber Revenue
                                                                                   Expectation
DX0288                                                                             Withdrawn
DX0289                            Helman                     NA, F, H, 403-P, MIL Movie Labs Levels of Verification for
                                                                                   P2P Scanning
DX0290                            Bahun, Paszkowski,                    -          Bright House Networks Notice Data
                                  Chatterjee
DX0291                            Bahun, Paszkowski,                   -          Audible Magic Results Bright House
                                  Chatterjee                                      Networks
DX0292                            Bahun, Paszkowski,                   -          Copyright Infringement - Notice ID
                                  Chatterjee                                      #22258904348
DX0293                            Bahun, Paszkowski,                   -          Copyright Infringement - Notice ID
                                  Chatterjee                                      #22259060627

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Exhibit     Date         Date            Witness                  Objections/               Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0294                            Bahun, Paszkowski,                   -             Email from RIAA to Sabin Firm re:
                                  Frendberg                                          Copyright Infringement - Notice ID
                                                                                     222104530889
DX0295                            Bahun, Paszkowski,                    -            Zip file .xml files
                                  Chatterjee
DX0296                            Bahun, Paszkowski,           NA, F, H, 403-P, R,   Charter Communications Notice
                                  Snow                                NTP            Data
DX0297                            Bahun, Paszkowski,           NA, F, H, 403-P, R,   Audible Magic Results Charter
                                  Snow                                NTP            Communications
DX0298                            Bahun, Paszkowski,           NA, F, H, 403-P, R,   Copyright Infringement - Notice ID
                                  Snow                                NTP            #22246297414
DX0299                            Bahun, Paszkowski,           NA, F, H, 403-P, R,   Copyright Infringement - Notice ID
                                  Snow                                NTP            #22250410387
DX0300                            Bahun, Snow, Bell,                    -            Master Agreement between
                                  Marks Chatterjee                                   DtecNet Inc. and RIAA
DX0301                                                                               Withdrawn
DX0302                            Bahun, Snow, Marks,                   -            Statement of Work between
                                  Chatterjee                                         MarkMonitor Inc. and RIAA
DX0303                            Bahun, Snow, Marks           NA, F, H, 403-P, R    Statement of Work No. 2 between
                                                                                     MarkMonitor Inc. and RIAA

DX0304                            Bahun, Snow, Marks,                   -            Statement of Work between
                                  Chatterjee                                         MarkMonitor Inc. and RIAA
DX0305                            Bahun, Snow, Marks,                   -            Statement of Work, Anti-Piracy
                                  Sheckler                                           Services
DX0306                            Bahun, Snow, Bell,                    -            MarkMonitor P2P Enforcement
                                  Paszkowski, Chatterjee                             Process Presentation

DX0307                            Bahun, Snow, Bell,                    -            MarkMonitor Stroz Freidberg -
                                  Paszkowski, Chatterjee                             Overview of Anti-Piracy Process
                                                                                     Presentation
DX0308                            Bahun, Snow, Bell,                   ID            Stroz Freidberg Enhancement
                                  Paszkowski, Chatterjee                             Recommendations

DX0309                            Bahun, Snow, Chatterjee               -           MarkMonitor Response to Harbor
                                                                                    Labs Executive Summary
DX0310                            Paszkowski, Chatterjee      NA, F, H, INC, 403-P, Source Code
                                                                   NP, CONF
DX0311                            Paszkowski                  NA, F, H, INC, 403-P, Source Code
                                                                   NP, CONF
DX0312                            Paszkowski, Chatterjee      NA, F, H, INC, 403-P, Source Code
                                                                   NP, CONF
DX0313                            Paszkowski, Chatterjee      NA, F, H, INC, 403-P, Source Code
                                                                   NP, CONF

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Exhibit     Date         Date             Witness                     Objections/                Description of Exhibit
 No.      Identified   Admitted                                        Stipulated
                                                                      Admissions
DX0314                            Paszkowski, Chatterjee          NA, F, H, INC, 403-P,   Source Code
                                                                       NP, CONF
DX0315                            Paszkowski, Chatterjee          NA, F, H, INC, 403-P,   Source Code
                                                                       NP, CONF
DX0316                            Paszkowski, Chatterjee          NA, F, H, INC, 403-P,   Source Code
                                                                       NP, CONF
DX0317                            Paszkowski, Chatterjee          NA, F, H, INC, 403-P,   Source Code
                                                                       NP, CONF
DX0318                            Paszkowski                      NA, F, H, INC, 403-P,   Source Code
                                                                       NP, CONF
DX0319                            Bahun, Snow                      NA, F, H, 403-P, R     Letter from Jeff Gould to
                                                                                          MarkMonitor Inc, c/o David Haenel

DX0320                            Henkart, Almeroth                         -             Bright House Networks Purchase
                                                                                          Order to DeepField Networks

DX0321                            Henkart, Almeroth                     R, W, ID          DeepField Sales Quote
DX0322                            Sheckler, Snow,                           -             Bright House RIAA Notice Data
                                  Coleman, Chatterjee
DX0323                            Sheckler                                 -              Native text file
DX0324                            Sheckler                           ID, NTP, NA, F       RIAA Notice Spreadsheet
DX0325                                                                                    Withdrawn
DX0326                            Coleman, Plaintiff                 R, MD, CONF          Amendment to Agreement between
                                  Witness TBD                                             WMG and Flo Rida
DX0327                            Coleman, Plaintiff                 R, MD, CONF          Amendment to Agreement between
                                  Witness TBD                                             WMG and Flo Rida
DX0328                            Coleman, Plaintiff                 R, MD, CONF          Agreement between Atlantic
                                  Witness TBD                                             Recording Corporation and Poe Boy
                                                                                          Entertainment, Inc. re artist Flo Rida

DX0329                            Coleman, Plaintiff                    R, CONF           Agreement between WMG and
                                  Witness TBD                                             Green Day
DX0330                            Coleman, Plaintiff                    R, CONF           Agreement between WMG and
                                  Witness TBD                                             Linkin Park
DX0331                            Coleman, Plaintiff                 R, MD, CONF          Amendment to Agreement between
                                  Witness TBD                                             WMG and The Cure
DX0332                            Coleman, Plaintiff                 R, MD, CONF          Agreement between WMG and The
                                  Witness TBD                                             Cure
DX0333                            Coleman, Plaintiff                    R, CONF           Agreement between WMG and The
                                  Witness TBD                                             Cure
DX0334                            Coleman, Plaintiff                 R, MD, CONF          Amendment to Agreement between
                                  Witness TBD                                             WMG and The Cure
DX0335                            Coleman, Plaintiff                    R, CONF           Amendment to Agreement between
                                  Witness TBD                                             WMG and The Cure

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Exhibit     Date         Date             Witness                 Objections/          Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                   Admissions
DX0336                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   WMG and Flo Rida
DX0337                            Coleman, Plaintiff                R, CONF     Agreement between SME and Pink
                                  Witness TBD
DX0338                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   SME and Pink
DX0339                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   SME and Pink
DX0340                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   SME and Pink
DX0341                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   SME and Pink
DX0342                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   SME and Pink
DX0343                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and Adele
                                  Witness TBD
DX0344                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and Adele
                                  Witness TBD
DX0345                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Adele
DX0346                            Coleman, Plaintiff                R, CONF     Agreement between Aerodisc
                                  Witness TBD                                   Partnership and Sony Music re artist
                                                                                Aerosmith
DX0347                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Aerosmith
DX0348                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Aerosmith
DX0349                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Aerosmith
DX0350                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Aerosmith
DX0351                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Aerosmith
DX0352                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and
                                  Witness TBD                                   Charlie Wilson
DX0353                            Coleman, Plaintiff                R, CONF     Agreement between WMG and
                                  Witness TBD                                   ColdPlay
DX0354                            Coleman, Plaintiff                R, CONF     Agreement between WMG and
                                  Witness TBD                                   Gorillaz
DX0355                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Pitbull
DX0356                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and
                                  Witness TBD                                   Pitbull



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Exhibit     Date         Date             Witness                 Objections/         Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0357                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   SME and R. Kelly
DX0358                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   SME and R. Kelly
DX0359                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   SME and R. Kelly
DX0360                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   SME and R. Kelly
DX0361                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   SME and R. Kelly
DX0362                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   WMG and ColdPlay
DX0363                            Coleman, Plaintiff              R, MD, CONF   Agreement between UMG and
                                  Witness TBD                                   Capital Cities
DX0364                            Coleman, Plaintiff                R, CONF     Agreement between UMG and Katy
                                  Witness TBD                                   Perry
DX0365                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and Katy Perry
DX0366                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and Katy Perry
DX0367                            Coleman, Plaintiff                R, CONF     Agreement between UMG and Lady
                                  Witness TBD                                   Antebellum
DX0368                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and Lady Antebellum

DX0369                            Coleman, Plaintiff                R, CONF     Agreement between label and artist
                                  Witness TBD                                   50 Cent
DX0370                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and 50 Cent
DX0371                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and 50 Cent
DX0372                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and 50 Cent
DX0373                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and 50 Cent
DX0374                            Coleman, Plaintiff                R, CONF     Agreement between UMG and 50
                                  Witness TBD                                   Cent
DX0375                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and 50 Cent
DX0376                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and 50 Cent
DX0377                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and 50 Cent



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Exhibit     Date         Date             Witness                 Objections/         Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0378                            Coleman, Plaintiff               R, CONF      Agreement between UMG and
                                  Witness TBD                                   Colbie Caillat
DX0379                            Coleman, Plaintiff               R, CONF      Agreement between UMG and
                                  Witness TBD                                   Fallout Boy
DX0380                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Fallout Boy
DX0381                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Fallout Boy
DX0382                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Fallout Boy
DX0383                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Fallout Boy
DX0384                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Fallout Boy
DX0385                            Coleman, Plaintiff               R, CONF      Agreement between UMG and Jay-Z
                                  Witness TBD
DX0386                            Coleman, Plaintiff               R, CONF      Agreement between UMG and
                                  Witness TBD                                   Justin Bieber
DX0387                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Justin Bieber

DX0388                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Justin Bieber

DX0389                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Justin Bieber

DX0390                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Justin Bieber

DX0391                            Coleman, Plaintiff               R, CONF      Agreement between UMG and Kelly
                                  Witness TBD                                   Rowland
DX0392                            Coleman, Plaintiff               R, CONF      Agreement between UMG and Kid
                                  Witness TBD                                   Cudi
DX0393                            Coleman, Plaintiff               R, CONF      Agreement between UMG and Lady
                                  Witness TBD                                   Gaga
DX0394                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Lady Gaga
DX0395                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Lady Gaga
DX0396                            Coleman, Plaintiff               R, CONF      Agreement between UMG and Black
                                  Witness TBD                                   Eyed Peas




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Exhibit     Date         Date             Witness                 Objections/         Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0397                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Black Eyed Peas

DX0398                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and Black Eyed Peas

DX0399                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Weezer
DX0400                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and Weezer
DX0401                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Rihanna
DX0402                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Timbaland
DX0403                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Nirvana
DX0404                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Bastille
DX0405                            Coleman, Plaintiff              R, MD, CONF   Agreement between UMG and Amy
                                  Witness TBD                                   Winehouse
DX0406                            Coleman, Plaintiff                R, CONF     Agreement between UMG and Ellie
                                  Witness TBD                                   Goulding
DX0407                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   UMG and Ellie Goulding

DX0408                            Coleman, Plaintiff              R, MD. CONF   Amendment to Agreement between
                                  Witness TBD                                   UMG and Amy Winehouse

DX0409                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Maroon 5
DX0410                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Maroon 5
DX0411                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Marvin Gaye
DX0412                            Coleman, Plaintiff                R, CONF     Agreement between UMG and Taio
                                  Witness TBD                                   Cruz
DX0413                            Coleman, Plaintiff                R, CONF     Agreement between UMG and Toby
                                  Witness TBD                                   Keith
DX0414                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Warren G
DX0415                            Coleman, Plaintiff                R, CONF     Agreement between UMG and
                                  Witness TBD                                   Warren G
DX0416                            Coleman, Plaintiff              R, MD, CONF   Agreement between UMG and
                                  Witness TBD                                   Nicole Scherzinger

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Exhibit     Date         Date             Witness                 Objections/         Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                   Admissions
DX0417                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Adele
DX0418                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Adele
DX0419                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and Carrie
                                  Witness TBD                                   Underwood
DX0420                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Carrie Underwood

DX0421                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Carrie Underwood

DX0422                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and Carrie
                                  Witness TBD                                   Underwood
DX0423                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   SME and Carrie Underwood

DX0424                            Coleman, Plaintiff                R, CONF     Agreement between SME and Jack
                                  Witness TBD                                   White
DX0425                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and Jack
                                  Witness TBD                                   White
DX0426                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and Jack
                                  Witness TBD                                   White
DX0427                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and Jack
                                  Witness TBD                                   White
DX0428                            Coleman, Plaintiff                 CONF       Agreement between SATV and
                                  Witness TBD                                   Jayceon Taylor et al.
DX0429                            Coleman, Plaintiff                R. CONF     Agreement between Jobete Music
                                  Witness TBD                                   Company, Inc. and Nickolas Ashford

DX0430                            Coleman, Plaintiff                R, CONF     Agreement between SATV and
                                  Witness TBD                                   Valerie Simpson
DX0431                            Coleman, Plaintiff                R, CONF     Exclusive Writer Agreement
                                  Witness TBD                                   between Sea Gayle Music, LLC and
                                                                                Chris DuBois
DX0432                            Coleman, Plaintiff                R, CONF     Agreement between SATV and
                                  Witness TBD                                   David Turnbull
DX0433                            Coleman, Plaintiff                R, CONF     Agreement between SATV and Drew
                                  Witness TBD                                   Womack
DX0434                            Coleman, Plaintiff                R, CONF     Agreement between EMI
                                  Witness TBD                                   Blackwood Music, Inc. and Natali
                                                                                Hemby
DX0435                            Coleman, Plaintiff                R, CONF     Agreement between SATV and
                                  Witness TBD                                   Rhett Atkins et al.

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Exhibit     Date         Date             Witness                 Objections/          Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0436                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Rhett Atkins et al.
DX0437                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Rhett Atkins et al.
DX0438                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Rhett Atkins et al.
DX0439                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Rhett Atkins et al.
DX0440                            Coleman, Plaintiff                CONF        Agreement between SATV and
                                  Witness TBD                                   Damon Reinagle et al.
DX0441                            Coleman, Plaintiff               R, CONF      Agreement between UMG and
                                  Witness TBD                                   Maroon 5
DX0442                            Coleman, Plaintiff               R, CONF      Agreement between UMG and
                                  Witness TBD                                   Pussycat Dolls
DX0443                            Coleman, Plaintiff                CONF        Agreement between SATV and
                                  Witness TBD                                   Bobby Terry
DX0444                            Coleman, Plaintiff                CONF        Agreement between SATV and Toby
                                  Witness TBD                                   Gad et al.
DX0445                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Michael Stevenson p/k/a Tyga et al.

DX0446                            Coleman, Plaintiff                CONF        Agreement between SATV and
                                  Witness TBD                                   Martin Johnson
DX0447                            Coleman, Plaintiff                CONF        Agreement between SATV and
                                  Witness TBD                                   Robin Tadross
DX0448                            Coleman, Plaintiff                CONF        Agreement between SATV and Tony
                                  Witness TBD                                   Scales
DX0449                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Rodney Jerkins
DX0450                            Coleman, Plaintiff                CONF        Agreement between SATV and Eric
                                  Witness TBD                                   Bellinger
DX0451                            Coleman, Plaintiff                CONF        Agreement between SATV and Lady
                                  Witness TBD                                   Gaga
DX0452                            Coleman, Plaintiff                CONF        Agreement between SATV and Lady
                                  Witness TBD                                   Gaga
DX0453                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Nadir Khayat
DX0454                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Nadir Khayat
DX0455                            Coleman, Plaintiff                CONF        Agreement between SATV and
                                  Witness TBD                                   Nadir Khayat
DX0456                            Coleman, Plaintiff                CONF        Agreement between SATV and
                                  Witness TBD                                   Nadir Khayat



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Exhibit     Date         Date             Witness                 Objections/         Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0457                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Nadir Khayat
DX0458                            Coleman, Plaintiff                R, CONF     Agreement between SATV and Elleis
                                  Witness TBD                                   inc
DX0459                            Coleman, Plaintiff                R, CONF     Agreement between WMG and Zac
                                  Witness TBD                                   Brown
DX0460                            Coleman, Plaintiff                R, CONF     Agreement between WMG and
                                  Witness TBD                                   Gnarles Barkley
DX0461                            Coleman, Plaintiff                R, CONF     Warner Bros. - Meek Mill Recording
                                  Witness TBD, Parry                            Agreement
DX0462                            Coleman, Plaintiff                R, CONF     Agreement between WMG and
                                  Witness TBD                                   Meek Mill
DX0463                            Coleman, Plaintiff                R, CONF     Agreement between WMG and Rick
                                  Witness TBD                                   Ross
DX0464                            Coleman, Plaintiff                R, CONF     Agreement between WMG and
                                  Witness TBD                                   Blake Shelton
DX0465                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   WMG and Blake Shelton

DX0466                            Coleman, Plaintiff                R, CONF     Amendment to Agreement between
                                  Witness TBD                                   Warner Bros. Records, Inc. and
                                                                                Blake Shelton
DX0467                            Coleman, Plaintiff              R, MD, CONF   Agreement between UMG and Of
                                  Witness TBD                                   Monsters and Men
DX0468                            Coleman, Plaintiff              R, MD, CONF   Agreement between UMG and
                                  Witness TBD                                   Gotye
DX0469                            Coleman, Plaintiff              R, MD, CONF   Agreement between UMG and
                                  Witness TBD                                   Capital Cities
DX0470                            Coleman, Plaintiff                R, CONF     Agreement between UMG and Little
                                  Witness TBD                                   Big Town
DX0471                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   UMG and Little Big Town

DX0472                            Coleman, Plaintiff                R, CONF     Agreement between WMG and
                                  Witness TBD                                   Genesis
DX0473                            Coleman, Plaintiff              R, MD, CONF   Amendment to Agreement between
                                  Witness TBD                                   WMG and The Cure
DX0474                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and Bill
                                  Witness TBD                                   Withers
DX0475                            Coleman, Plaintiff              R, MD, CONF   Agreement between SME and Bill
                                  Witness TBD                                   Withers
DX0476                            Coleman, Plaintiff                R, CONF     Agreement between WC and Brad
                                  Witness TBD                                   Warren & Brett Warren et al.



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Exhibit     Date         Date             Witness                 Objections/         Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0477                            Coleman, Plaintiff              MD, CONF      Agreement between WC and Lavar
                                  Witness TBD                                   Edward et al.
DX0478                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   WC and Beyonce et al.
DX0479                            Coleman, Plaintiff               R, CONF      Agreement between WC and
                                  Witness TBD                                   Beyonce et al.
DX0480                            Coleman, Plaintiff                CONF        Agreement between WC and Jay Z
                                  Witness TBD                                   et al.
DX0481                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   WC and John William et al.

DX0482                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   WC and Katy Perry et al.

DX0483                            Coleman, Plaintiff               R, CONF      Agreement between WC and Katy
                                  Witness TBD                                   Perry et al.
DX0484                            Coleman, Plaintiff               R, CONF      Amendments to Agreement
                                  Witness TBD                                   between WC and Encore
                                                                                Entertainment
DX0485                            Coleman, Plaintiff                CONF        Agreement and Amendments
                                  Witness TBD                                   between WC and Led Zeppelin et al.

DX0486                            Coleman, Plaintiff                CONF        Administration Agreement between
                                  Witness TBD                                   WC and Led Zeppelin et al.

DX0487                            Coleman, Plaintiff                CONF        Co-Pub Agreement and Amendment
                                  Witness TBD                                   between WC and Dwayne Carter
                                                                                p/k/a Lil' Wayne
DX0488                            Coleman, Plaintiff                CONF        Amendment to Agreement between
                                  Witness TBD                                   WC and Lil Wayne
DX0489                            Coleman, Plaintiff                CONF        Agreement between WC and Terius
                                  Witness TBD                                   Y. Nash p/k/a Dream et al.

DX0490                            Coleman, Plaintiff                CONF        Administration Agreement between
                                  Witness TBD                                   UMPG and Marshall B. Mathers -
                                                                                Eminem
DX0491                            Coleman, Plaintiff               R, CONF      Agreement between WMG and
                                  Witness TBD                                   Waka Flacka Flame
DX0492                            Coleman, Plaintiff               R, CONF      Co-Pub Agreement between UMPG
                                  Witness TBD                                   and Guy Roche
DX0493                            Coleman, Plaintiff               R, CONF      Agreement between SATV and Kelly
                                  Witness TBD                                   Rowland




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Exhibit     Date         Date             Witness                 Objections/          Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0494                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Phillip Phillips

DX0495                            Coleman, Plaintiff              R, ID, CONF   Agreement between 19 Recordings
                                  Witness TBD                                   and Phillip Phillips
DX0496                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMG and Phillip Phillips

DX0497                            Coleman, Plaintiff               R, CONF      Agreement between UMG and
                                  Witness TBD                                   Rolling Stones
DX0498                            Plaintiff Witness TBD                -        Public Catalog V9929D321
DX0499                            Plaintiff Witness TBD                -        Certificate of Registration PA 1-981-
                                                                                858
DX0500                            Plaintiff Witness TBD                -        Certificate of Registration PA 1-981-
                                                                                854
DX0501                            Plaintiff Witness TBD                -        Registration PA0001975716
DX0502                            Plaintiff Witness TBD                -        Registration PA0001975706
DX0503                            Plaintiff Witness TBD                -        Registration PA0001975714
DX0504                            Plaintiff Witness TBD                -        Registration PA0001975718
DX0505                            Plaintiff Witness TBD                -        Registration PA0001975694
DX0506                            Plaintiff Witness TBD                -        Registration PA0001975719
DX0507                            Plaintiff Witness TBD                -        Registration PA0001975723
DX0508                            Plaintiff Witness TBD                -        Registration PA0001975709
DX0509                            Plaintiff Witness TBD                -        Registration PA0001975721
DX0510                            Plaintiff Witness TBD                -        Registration PA0001994826
DX0511                            Plaintiff Witness TBD                -        Registration PA0002000105
DX0512                            Plaintiff Witness TBD                -        Registration PA0002000110
DX0513                            Plaintiff Witness TBD                -        Registration PA0002000109
DX0514                            Plaintiff Witness TBD                -        Registration SR 747-284
DX0515                            Plaintiff Witness TBD                -        Registration SR 748-788
DX0516                            Plaintiff Witness TBD                -        Public Catalog PA0001864022
DX0517                            Plaintiff Witness TBD                -        Public Catalog PA0001864023
DX0518                            Plaintiff Witness TBD                -        Public Catalog PA0001975712
DX0519                            Plaintiff Witness TBD                -        Public Catalog PA0001981843
DX0520                            Plaintiff Witness TBD                -        Public Catalog PA0001981868
DX0521                            Plaintiff Witness TBD                -        Public Catalog PA0001993843
DX0522                            Plaintiff Witness TBD                -        Public Catalog PA0001995515
DX0523                            Plaintiff Witness TBD                -        Public Catalog PA0002004472
DX0524                            Plaintiff Witness TBD                -        Certificate of Registration PA 2-007-
                                                                                289
DX0525                            Plaintiff Witness TBD                -        Public Catalog PA0001848054
DX0526                            Plaintiff Witness TBD                -        Public Catalog PA0001943912
DX0527                            Plaintiff Witness TBD                -        Public Catalog PA0001943944
DX0528                            Plaintiff Witness TBD                -        Public Catalog PA0001961615

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Exhibit     Date         Date             Witness                 Objections/          Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0529                            Plaintiff Witness TBD                -        Public Catalog PA0001967812
DX0530                            Plaintiff Witness TBD                -        Public Catalog PA0001967814
DX0531                            Plaintiff Witness TBD                -        Public Catalog PA0001981018
DX0532                            Plaintiff Witness TBD                -        Public Catalog PA0001981854
DX0533                            Plaintiff Witness TBD                -        Public Catalog PA0001981858
DX0534                            Plaintiff Witness TBD                -        Public Catalog PA0001981866
DX0535                            Plaintiff Witness TBD                -        Public Catalog PA0001981876
DX0536                            Plaintiff Witness TBD                -        Public Catalog PA0001990266
DX0537                            Plaintiff Witness TBD                -        Public Catalog PA0001995834
DX0538                            Plaintiff Witness TBD                -        Public Catalog PA0001997263
DX0539                            Plaintiff Witness TBD                -        Public Catalog PA0002000106
DX0540                            Plaintiff Witness TBD                -        Public Catalog PA0002000107
DX0541                            Plaintiff Witness TBD                -        Public Catalog PA0002000111
DX0542                            Plaintiff Witness TBD                -        Public Catalog PA0002000112
DX0543                            Plaintiff Witness TBD                -        Public Catalog PA0002007289
DX0544                            Plaintiff Witness TBD                -        Public Catalog PA0002008135
DX0545                            Plaintiff Witness TBD                -        Public Catalog PA0002008748
DX0546                            Plaintiff Witness TBD                -        Public Catalog SR0000747284
DX0547                            Plaintiff Witness TBD                -        Public Catalog SR0000747286
DX0548                            Plaintiff Witness TBD                -        Public Catalog SR0000748788
DX0549                            Plaintiff Witness TBD                -        Public Catalog SR0000766922
DX0550                            Plaintiff Witness TBD                -        Public Catalog SR0000768358
DX0551                            Plaintiff Witness TBD                -        Public Catalog SR0000773759
DX0552                            Plaintiff Witness TBD                -        Public Catalog V9929D321
DX0553                            Plaintiff Witness TBD                -        Public Catalog SR0000752677
DX0554                            Plaintiff Witness TBD                -        Public Catalog SR0000767823
DX0555                            Coleman, Plaintiff               R, CONF      Administration Agreement between
                                  Witness TBD                                   UMPG and Avant Garde Music
                                                                                Publishing, Inc. (ASCAP) and Interior
                                                                                Music Corp.

DX0556                            Coleman, Plaintiff               R, CONF      Royalty and Purchase Agreement
                                  Witness TBD                                   between UMPG and Carlos Santana
                                                                                et al.
DX0557                            Coleman, Plaintiff               R, CONF      Administration Agreement between
                                  Witness TBD                                   UMPG and Metrophonic Music
                                                                                Limited
DX0558                            Coleman, Plaintiff                CONF        Co-Pub Agreement between WC
                                  Witness TBD                                   and Kendrick Lamar et al.
DX0559                            Coleman, Plaintiff               R, CONF      Administration Agreement between
                                  Witness TBD                                   WC and Avatar Publishing Group LLC
                                                                                & Urbaniti Productions, LLC




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Exhibit     Date         Date             Witness                  Objections/            Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                   Admissions
DX0560                            Coleman, Plaintiff                  CONF          Co-Pub Agreement and Copyright
                                  Witness TBD                                       Assignment between WC and Sean
                                                                                    Douglas et al.
DX0561                            Coleman, Plaintiff              R, CONF, DUP of   Agreement between Giant Records
                                  Witness TBD                         DX0464        and Blake Shelton
DX0562                            Coleman, Plaintiff                  R, CONF       Amendment to Agreement between
                                  Witness TBD                                       WMG and Blake Shelton

DX0563                            Coleman, Plaintiff                  CONF          Administration Agreement between
                                  Witness TBD                                       WC and Tony Bernhardt et al.

DX0564                            Coleman, Plaintiff               R, CONF, MD      Termination Agreement between
                                  Witness TBD                                       WC and Alan Jackson
DX0565                            Coleman, Plaintiff                  CONF          Co-Pub Agreement between UMPG
                                  Witness TBD                                       and Keith Harris
DX0566                            Coleman, Plaintiff                 R, CONF        Administration Agreement between
                                  Witness TBD                                       UMPG and Darius Rucker

DX0567                            Coleman, Plaintiff                 R, CONF        Administration Agreement between
                                  Witness TBD                                       UMPG and Neil Diamond

DX0568                            Coleman, Plaintiff                  CONF          Administration Agreement between
                                  Witness TBD                                       UMPG and Estate of Prince

DX0569                            Coleman, Plaintiff                 R, CONF        Administration Agreement between
                                  Witness TBD                                       UMPG and Garrett Hamler

DX0570                            Coleman, Plaintiff                 R, CONF        Administration Agreement between
                                  Witness TBD                                       UMPG and Raphail Akinyemi

DX0571                            Coleman, Plaintiff                 R, CONF        Songwriter's Agreement between
                                  Witness TBD                                       UMPG and Irving - Tyler Rhodes

DX0572                            Coleman, Plaintiff                 R, CONF        Administration Agreement between
                                  Witness TBD                                       UMPG and Adam Levine

DX0573                            Coleman, Plaintiff                  CONF          Asset Purchase Agreement between
                                  Witness TBD                                       UMPG and Frederick Hibbert

DX0574                            Coleman, Plaintiff                 R, CONF        Agreement between UMG and
                                  Witness TBD                                       Jennifer Lopez
DX0575                            Coleman, Plaintiff                  CONF          Co-Pub Agreement between UMPG
                                  Witness TBD                                       and Kelly Price



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Exhibit     Date         Date             Witness                 Objections/         Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0576                            Coleman, Plaintiff               R, CONF      Administration Agreement and
                                  Witness TBD                                   Amendments between WC and John
                                                                                Bettis et al.
DX0577                            Coleman, Plaintiff               R, CONF      Administration Agreement and
                                  Witness TBD                                   Correspondence between WC and
                                                                                Leonore Gershwin
DX0578                            Coleman, Plaintiff                CONF        Administration Agreement and
                                  Witness TBD                                   Amendments between WC and
                                                                                Khalil Walton et al.
DX0579                            Coleman, Plaintiff               R, CONF      Administration Agreement between
                                  Witness TBD                                   UMPG and E John
DX0580                            Coleman, Plaintiff               R, CONF      Copyright Assignment Agreement
                                  Witness TBD                                   between UMPG and Michael
                                                                                Masser
DX0581                            Coleman, Plaintiff                CONF        Purchase Agreement between WC
                                  Witness TBD                                   and Thomas Miller
DX0582                            Coleman, Plaintiff                CONF        Amendment to Agreement between
                                  Witness TBD                                   WC and Terius Y. Nash p/k/a Dream
                                                                                et al.
DX0583                            Coleman, Plaintiff               R, CONF      Agreement and Amendments to
                                  Witness TBD                                   Agreement between WC and Brian
                                                                                Michael Cox
DX0584                            Coleman, Plaintiff               R, CONF      Agreement between WMG and Trey
                                  Witness TBD                                   Songz
DX0585                            Coleman, Plaintiff               R, CONF      Co-Publishing Agreement between
                                  Witness TBD                                   Maroon 5 and Careers-BMG Music
                                                                                Publishing
DX0586                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMPG and Maroon 5
DX0587                            Coleman, Plaintiff               R, CONF      Amendment to Agreement between
                                  Witness TBD                                   UMPG and Maroon 5
DX0588                            Coleman, Plaintiff               R, CONF      Agreement between SATV and Chris
                                  Witness TBD                                   Dubois
DX0589                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Frank Rogers, Brad Paisley, and
                                                                                Chris DuBois
DX0590                            Coleman, Plaintiff               R, CONF      Agreement between SATV and Brad
                                  Witness TBD                                   Warren et al
DX0591                            Coleman, Plaintiff               R, CONF      Agreement between SATV and
                                  Witness TBD                                   Jayceon Taylor - The Game
DX0592                            Coleman, Plaintiff               R, CONF      Agreement between UMG and Elton
                                  Witness TBD                                   John
DX0593                            Coleman, Plaintiff               R, CONF      Agreement between UMG and 5
                                  Witness TBD                                   Seconds of Summer

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Exhibit     Date         Date             Witness                 Objections/          Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0594                            Coleman, Plaintiff               ID, CONF      Agreement between Taste Media
                                  Witness TBD                                    Ltd and Matthew Bellamy, Dominic
                                                                                 Howard, and Christopher
                                                                                 Wolstenholme
DX0595                            Coleman, Plaintiff                 CONF        Administration Agreement between
                                  Witness TBD                                    WC and Charles Kelley

DX0596                            Coleman, Plaintiff                 CONF        Administration Agreement between
                                  Witness TBD                                    WC and David Haywood

DX0597                            Coleman, Plaintiff                 CONF        Administration Agreement between
                                  Witness TBD                                    WC and Hillary Scott Tyrrell

DX0598                            Coleman, Plaintiff                R, CONF      Administration Agreement between
                                  Witness TBD                                    UMPG and Matthew Samuels

DX0599                            Coleman, Plaintiff                R, CONF      Settlement Agreement between
                                  Witness TBD                                    UMPG and Tupac Shakur

DX0600                            Coleman, Plaintiff                R, CONF      Correspondence between UMPG
                                  Witness TBD                                    and Tupac Shakur
DX0601                            Coleman, Plaintiff                R, CONF      Asset Purchase Agreement between
                                  Witness TBD                                    UMPG and Tupac Shakur

DX0602                            Coleman, Plaintiff                 CONF        Amendment to Agreement between
                                  Witness TBD                                    UMPG and Slayer
DX0603                            Coleman, Plaintiff                 CONF        Administration Agreement between
                                  Witness TBD                                    UMPG and Slayer
DX0604                            Coleman, Plaintiff                 CONF        Co-Pub Agreement, Songrwriter's
                                  Witness TBD                                    Agreement, and Amendments to
                                                                                 Agreement between UMPG and
                                                                                 Angelo Petraglia

DX0605                            Plaintiff Witness TBD                -         Registration PA 1-967-812
DX0606                            Plaintiff Witness TBD                -         Registration PA 1-967-814
DX0607                            Plaintiff Witness TBD                -         Registration PA 1-995-515
DX0608                            Plaintiff Witness TBD                -         Registration PA 2-000-106
DX0609                            Plaintiff Witness TBD                -         Registration PA 1-961-615
DX0610                            Plaintiff Witness TBD                -         Registration PA 2-004-472
DX0611                            Coleman, Plaintiff              R, CONF, MIL   Agreement between UMG
                                  Witness TBD                                    Recordings, Inc. and RealNetworks
                                                                                 Inc.




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Exhibit     Date         Date             Witness                 Objections/            Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                  Admissions
DX0612                            Kokakis, Strong                 H, R, NB, INC   Email from David Kokakis to Jody
                                                                                  Gerson, Marc Cimino and Evan
                                                                                  Lamberg re: New Media Research
                                                                                  Deck on Future of Digital Music

DX0613                            Plaintiff Witness TBD                -          Registration PA 1-864-022
DX0614                            Plaintiff Witness TBD                -          Registration PA 1-864-023
DX0615                            Plaintiff Witness TBD                -          Registration PA 1-993-843
DX0616                            Plaintiff Witness TBD                -          Registration PA 1-975-712
DX0617                            Plaintiff Witness TBD                -          Registration PA 1-981-843
DX0618                            Plaintiff Witness TBD                -          Registration PA 1-981-868
DX0619                            Plaintiff Witness TBD                -          Registration PA 1-975-706
DX0620                            Plaintiff Witness TBD                -          Registration PA 1-975-714
DX0621                            Plaintiff Witness TBD                -          Registration PA 1-975-718
DX0622                            Plaintiff Witness TBD                -          Registration PA 1-975-694
DX0623                            Plaintiff Witness TBD                -          Registration PA 1-975-719
DX0624                            Plaintiff Witness TBD                -          Registration PA 1-975-709
DX0625                            Plaintiff Witness TBD                -          Registration PA 1-994-826
DX0626                            Plaintiff Witness TBD                -          Registration PA 2-000-105
DX0627                            Plaintiff Witness TBD                -          Registration PA 2-000-110
DX0628                            Plaintiff Witness TBD                -          Registration PA 2-000-109
DX0629                            Plaintiff Witness TBD                -          Registration PA 1-981-018
DX0630                            Plaintiff Witness TBD                -          Registration PA 2-000-107
DX0631                            Plaintiff Witness TBD                -          Registration PA 2-000-111
DX0632                            Plaintiff Witness TBD                -          Registration PA 2-000-112
DX0633                            Plaintiff Witness TBD                -          Registration PA 2-008-748
DX0634                            Plaintiff Witness TBD                -          Registration PA 1-990-266
DX0635                            Plaintiff Witness TBD                -          Registration PA 2-008-135
DX0636                            Plaintiff Witness TBD                -          Registration PA 1-975-721
DX0637                            Coleman, Plaintiff              R, CONF, MIL    Third Amendment to Cloud Player
                                  Witness TBD                                     Enhancements - Composition
                                                                                  License Agreement between
                                                                                  Amazon Digital Services LLC and
                                                                                  UMPG
DX0638                            Coleman, Plaintiff              R, CONF, MIL    Fourth Amendment to Agreement
                                  Witness TBD                                     between UMG Recordings Inc. and
                                                                                  Amazon Digital Services, Inc.

DX0639                            Coleman, Plaintiff              R, CONF, MIL    Amendment to Confidential
                                  Witness TBD                                     Subscription Service / Live Radio
                                                                                  U.S. Short Form Agreement
                                                                                  between UPMG and Apple Inc.




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Exhibit     Date         Date             Witness                   Objections/             Description of Exhibit
 No.      Identified   Admitted                                      Stipulated
                                                                     Admissions
DX0640                            Coleman, Plaintiff                R, CONF, MIL     Amendment to Webcasting Service
                                  Witness TBD                                        License Agreement
DX0641                            Coleman, Plaintiff                R, CONF, MIL     Confidential Subscription
                                  Witness TBD                                        Service/Live Radio U.S. Term Sheet
                                                                                     between Warner/Chappell Music,
                                                                                     Inc. and Apple Inc.

DX0642                            Coleman, Plaintiff                R, CONF, MIL     Musical Composition Cloud Service
                                  Witness TBD                                        Agreement between Apple Inc. and
                                                                                     Warner/Chappell Music, Inc.

DX0643                            Coleman, Plaintiff              R, CONF, MD, MIL   Amendment No. 5 to the Amended
                                  Witness TBD                                        and Restated Sound Recording and
                                                                                     Audiovisual Content License

DX0644                            Coleman, Plaintiff                R, CONF, MIL     Amendment No. 1 to the Google
                                  Witness TBD                                        Locker Agreement between
                                                                                     Warner/Chappell Music, Inc. and
                                                                                     Google Inc.
DX0645                            Coleman, Plaintiff                R, CONF, MIL     Exhibit C to Google Play
                                  Witness TBD                                        Subscription Service Terms
DX0646                            Coleman, Plaintiff                R, CONF, MIL     Agreement between Google Inc.
                                  Witness TBD                                        and UMPG
DX0647                            Coleman, Plaintiff                R, CONF, MIL     Letter to David Kokakis re:
                                  Witness TBD                                        Amended Content License
                                                                                     Agreement between Google and
                                                                                     UPMG
DX0648                            Coleman, Plaintiff                R, CONF, MIL     Amendment to the Google Play
                                  Witness TBD                                        Agreement between UMPG and
                                                                                     Google Inc.
DX0649                            Coleman, Plaintiff                R, CONF, MIL     DSP Agreement between UMG and
                                  Witness TBD                                        Spotify
DX0650                            Coleman, Plaintiff                R, CONF, MIL     Form Interactive Streaming and
                                  Witness TBD                                        Limited Download License
                                                                                     Agreement
DX0651                            Coleman, Plaintiff                R, CONF, MIL     License Agreement between
                                  Witness TBD                                        Warner/Chappell Music Inc. and
                                                                                     Pandora Media, Inc.
DX0652                            Coleman, Plaintiff                  R, CONF        Amendment to Agreement between
                                  Witness TBD                                        WMG and Genesis
DX0653                            Coleman, Plaintiff                  R, CONF        Agreement between WMG and The
                                  Witness TBD                                        Jakes
DX0654                            Coleman, Plaintiff                  R, CONF        Amendment to Agreement between
                                  Witness TBD                                        WMG and Trey Songz

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Exhibit     Date         Date               Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX0655                            Coleman, Plaintiff              R, CONF      Amendment to Agreement between
                                  Witness TBD                                  WMG and The Cure
DX0656                            Coleman, Plaintiff              R, CONF      Amendment to Agreement between
                                  Witness TBD                                  WMG and The Cure
DX0657                            Plaintiff Witness TBD               -        Registration PA 0001975721
DX0658                            Strong, Plaintiff Witness         F, H       SME-Presentation: IFPI Anti-Piracy
                                  TBD                                          Budget Review
DX0659                            Flott, Strong                     F, H       Digital Strategy WarnerMusicGroup
                                                                               Appendix
DX0660                            Sinnreich, Plaintiff                -        IFPI Market and Piracy Trends
                                  Witness TBD
DX0661                            Kokakis, Strong                    H         Email from David Israelite to David
                                                                               Kokakis re: Digital Rights (torrent
                                                                               sites/ISPs)
DX0662                            Sinnreich, Plaintiff           F, H, 403-P   Email from Ethan Karp to Jason
                                  Witness TBD                                  Miller re: FW TC Album Steam - Bit
                                                                               torrent
DX0663                            Flott, Strong                    H, F, R     Digital Strategy WarnerMusicGroup
                                                                               Mobile Freemium March 15, 2013

DX0664                            Flott, Strong, Sinnreich         H, F, R     Digital Strategy WarnerMusicGroup
                                                                               Anti-Piracy Summary, May 2014

DX0665                            Flott, Strong                    H, F, R     Sigur Ros: Valtari streaming
                                                                               discussion guide
DX0666                            Abitbol                             -        Email from RIAA to dtecnet re:
                                                                               Copyright Infringement - Notice ID
                                                                               22258904218
DX0667                            Marks                               -        Copyright Infringement - Notice ID
                                                                               #22277183726
DX0668                                                                         Withdrawn
DX0669                                                                         Withdrawn
DX0670                            Abitbol                             -        Email from RIAA to dtecnet re:
                                                                               Copyright Infringement - Notice ID
                                                                               22288769204
DX0671                            Abitbol                             -        Email from RIAA to dtecnet re:
                                                                               Copyright Infringement - Notice ID
                                                                               222102937888
DX0672                            Abitbol                             -        Email from RIAA to dtecnet re:
                                                                               Copyright Infringement - Notice ID
                                                                               222102980872
DX0673                            Blietz                              -        Email from RIAA to dtecnet re:
                                                                               Copyright Infringement - Notice ID
                                                                               222104758936

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Exhibit     Date         Date             Witness                  Objections/              Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                   Admissions
DX0674                                                                               Withdrawn
DX0675                            Chatterjee, Plaintiff                  -           Zip file of .xml documents
                                  Witness TBD
DX0676                            Chatterjee, Plaintiff                  -           Zip file of .xml documents
                                  Witness TBD
DX0677                            Kokakis                                -           Vivendi Annual Report 2012
DX0678                            Kokakis                                -           Vivendi Annual Report 2013
DX0679                            Kokakis                                -           Vivendi Annual Report 2014
DX0680                            Gallien, Strong                        -           Vivendi Financial Report & Audited
                                                                                     Consolidated Financial Statements
                                                                                     for Year-Ended 12/31/15

DX0681                            Leak, Strong                   DUP of DX0301       SOW RIAA Commercial ISP Program

DX0682                            McMullan                               -           Vivendi 2016 Annual Report
DX0683                            Bahun, Snow,                  NA, F, H, 403-P, R   Bright House Notice data
                                  Paszkowski
DX0684                            Bahun, Snow,                  NA, F, H, 403-P, R   Audible Magic Results Bright House
                                  Paszkowski                                         Networks
DX0685                            McMullan                      H, R, 403-P, ID, MIL Memorandum of Understanding

DX0686                            Leak, Strong, Lesser,              H, R, MIL       Implementation Agreement
                                  Bell, Marks
DX0687                            Lesser                             H, R, MIL       Implementation Agreement
DX0688                            Lesser                             H, R, MIL       Implementation Agreement
DX0689                            Lesser                             H, R, MIL       Implementation Agreement
DX0690                            Sheckler, Lesser                   H, R, MIL       Implementation Agreement
DX0691                            Leak, Strong, Carfora               F, H, R        Email from Zammit re NPD Annual
                                                                                     Music Study Presentation by Russ
                                                                                     Crupnick
DX0692                                                                               Withdrawn
DX0693                            Jang, Strong                         R, H          Email from Jang re MJ "Bad" piracy
                                                                                     results
DX0694                            Parry                                 R            Website Public Catalog, Matchbox
                                                                                     Twenty "North"
DX0695                            Parry                                 R            Website Public Catalog, Dreams and
                                                                                     Nightmares
DX0696                            Cranford, Carfora,                     -           Sony Corp 20-f (FY 2015)
                                  Strong
DX0697                            Flott, Strong, Woirhaye                -           Warner Music Group Corp. 10-K FY
                                                                                     2015
DX0698                                                                               Withdrawn
DX0699                            Benjamin                               -           2015 Vivendi Annual Report



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Exhibit     Date         Date               Witness                 Objections/               Description of Exhibit
 No.      Identified   Admitted                                     Stipulated
                                                                    Admissions
DX0700                            Cranford, Strong                       -             Sony/ATV Music Publishing and EMI
                                                                                       Music Publishing U.S. Financials,
                                                                                       FYE2010-FYE2019
DX0701                            Carfora, Strong                         -            Sony Music Entertainment Income
                                                                                       Statement Domestic Tax Rollup

DX0702                            Jang, Strong                            H            Email from Jang re Peer Media P2P
                                                                                       Protection
DX0703                            Leak, Strong                     H, 1002, 403-C      Email from McDevitt re Notice
                                                                                       Template
DX0704                            Leak, Strong                         F, H, R         Email from Banks re Online
                                                                                       Committee Call
DX0705                            Jang, Leak, Strong               F, H, R, 403-P      Email from Jang re Echnonest vs.
                                                                                       Audible Magic
DX0706                            Jang, Leak, McMullan,                   H            Statement of Work - Anti-Piracy
                                  Bell, Strong                                         Services
DX0707                            Jang, Strong                            H            Email from Jang re Anti-Piracy
                                                                                       Budgetary ROI Review
DX0708                            Jang, Strong                       F, H, 403-C       Anti-Piracy Budgetary ROI Review
                                                                                       presentation
DX0709                            Jang, Strong                       F, H, 403-C       Anti-Piracy presentation
DX0710                            Jang, Strong                       F, H, 403-C       WMG Anti-Piracy Summary Global
                                                                                       Digital Summit
DX0711                            Jang, Strong                       F, H, 403-C       Commercial Music Group Anti-
                                                                                       Piracy Update presentation
DX0712                            Jang, Strong                          H, R           Jang Email
DX0713                            Glass                                  H             Email from Howie Singer to Jeremy
                                                                                       Sirota re: BitTorrent Bundle

DX0714                            Kokakis                         H, R, 403-P, NB      Email from Benjamin re Digital
                                                                                       Rights
DX0715                            Kokakis                            H, R, 403-P       Email from Kokakis re Following up
                                                                                       on earlier discussions

DX0716                            Jang, Strong                       H, R, 403-P       Email from Walker re PayArtists
DX0717                            Leak, Strong                      H, R, INC, NB      Email from Du Reau re Iposos piracy
                                                                                       data presentation today
DX0718                            Blietz                          H, F, R, 403-P, LA   Email from Jeremy Blietz to Julie
                                                                                       Burton-Chen re: A Right Named Sue

DX0719                            Glass, Marks, Strong                    H            Email from Howie Singer to Dong
                                                                                       Jang, Christopher Horton, and Mark
                                                                                       McDevitt re: follow-up with Bit
                                                                                       Torrent

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Exhibit     Date         Date               Witness              Objections/           Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX0720                            Glass, Sinnreich                   H          Email from Matt Mason to Howie
                                                                                Singer re: follow-up
DX0721                            Benjamin, Sinnreich                 H         Email from Christopher Horton to
                                                                                Matt Mason re: BitTorrent
                                                                                Bundles/Keane
DX0722                            Kokakis                          H, R, NB     Email from Benjamin re Torrent
                                                                                Freak Article
DX0723                            Benjamin                            H         Email from David Benjamin to
                                                                                Christopher Horton re: BitTorrent
                                                                                Bundles/Keane
DX0724                            Jang, Benjamin, Glass,              H         Email from Howie Singer to Victoria
                                  Sinnreich                                     Sheckler, Dong Jang, David
                                                                                Benjamin, and Christopher Horton
                                                                                re: Friday, Glass Exhibit 33

DX0725                            Glass                          R, CONF, MIL   Amendment to Digital Music
                                                                                Download Agreement between
                                                                                Apple Inc. and Warner Music Inc.

DX0726                            Glass                          R, CONF, MIL   Letter from Apple Inc. to Warner re:
                                                                                iTunes Plus/Distributed Labels

DX0727                            Glass                          R, CONF, MIL   First Amendment to the
                                                                                Subscription Service and Linear
                                                                                Radio Agreement
DX0728                            Glass                          R, CONF, MIL   Subscription Service and Linear
                                                                                Radio Agreement between Apple
                                                                                Inc. and Warner Music Inc.

DX0729                                                                          Withdrawn
DX0730                                                                          Withdrawn
DX0731                            Blietz                         R, CONF, MIL   Musical Composition Cloud Service
                                                                                Agreement between Apple Inc. and
                                                                                Warner/Chappell Music, Inc.

DX0732                            Glass                          R, CONF, MIL   Warner/Google Music MP3
                                                                                Download Agreement
DX0733                            Glass                          R, CONF, MIL   Amendment No. 2 to the Amended
                                                                                and Restated Sound Recording and
                                                                                Audiovisual Content License

DX0734                            Glass                          R, CONF, MIL   Amendment No. 1 to the Warner/
                                                                                Google Music MP3 Download
                                                                                Agreement

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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX0735                            Glass                        R, CONF, MIL   Amendment No. 2 to the
                                                                              Warner/Google Music MP3
                                                                              Download Agreement
DX0736                            Glass                        R, CONF, MIL   Amendment No. 3 to the Amended
                                                                              and Restated Sound Recording and
                                                                              Audiovisual Content License

DX0737                            Glass                        R, CONF, MIL   Amendment No. 4 to the Amended
                                                                              and Restated Sound Recording and
                                                                              Audiovisual Content License

DX0738                            Glass                        R, CONF, MIL   Amendment No. 5 to the Amended
                                                                              and Restated Sound Recording and
                                                                              Audiovisual Content License

DX0739                            Glass                        R, CONF, MIL   Amendment No. 6 to the Amended
                                                                              and Restated Sound Recording and
                                                                              Audiovisual Content License

DX0740                            Glass                        R, CONF, MIL   Amendment No. 7 to the Amended
                                                                              and Restated Sound Recording and
                                                                              Audiovisual Content License

DX0741                            Glass                        R, CONF, MIL   Amendment No. 8 to the Amended
                                                                              and Restated Sound Recording and
                                                                              Audiovisual Content License

DX0742                            Glass                        R, CONF, MIL   Amendment No. 3 to the
                                                                              Warner/Google Music MP3
                                                                              Download Agreement
DX0743                            Glass                        R, CONF, MIL   Amendment No. 9 to the Amended
                                                                              and Restated Sound Recording and
                                                                              Audiovisual Content License

DX0744                            Glass                        R, CONF, MIL   Amendment No. 10 to the Amended
                                                                              and Restated Sound Recording and
                                                                              Audiovisual Content License
                                                                              between Warner Music Inc. and
                                                                              WEA International Inc. and Google
                                                                              Inc.

DX0745                                                                        Withdrawn
DX0746                                                                        Withdrawn
DX0747                                                                        Withdrawn

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Exhibit     Date         Date               Witness              Objections/              Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX0748                                                                              Withdrawn
DX0749                            Abitbol                        R, CONF, MIL       Google Locker Agreement between
                                                                                    Google and EMI Entertainment
                                                                                    World Inc.
DX0750                            Glass                         R, CONF, MIL        Amendment Agreement #1
                                                                                    between Warner Music Inc. and
                                                                                    Spotify USA, Inc.
DX0751                            Glass                         R, CONF, MIL        Amendment Agreement #2
                                                                                    between Warner Music Inc. and
                                                                                    Spotify USA, Inc.
DX0752                            Glass                         R, CONF, MIL        Approval Agreement: US Student
                                                                                    Discount
DX0753                            Glass                         R, CONF, MIL        Warner Streaming Agreement
                                                                                    between Warner Music Inc. and
                                                                                    Spotify USA, Inc.
DX0754                            Glass                         R, CONF, MIL        Warner Streaming Services
                                                                                    Agreement between Warner Music
                                                                                    Inc. and Spotify
DX0755                            Abitbol                       R, CONF, MIL        License Agreement between EMI
                                                                                    Entertainment World Inc. and
                                                                                    Spotify USA Inc.
DX0756                                                                              Withdrawn
DX0757                            Leak, Strong                  R, CONF, MIL        Digital Audio/Video Distribution
                                                                                    Agreement
DX0758                            Abitbol                       R, CONF, MIL        License Agreement between EMI
                                                                                    Entertainment World Inc. and
                                                                                    Pandora Media, Inc.
DX0759                                                                              Withdrawn
DX0760                            Abitbol                         H, R, 403-C       Email from Clark Miller to Anish
                                                                                    Patel et al re: FW: Daily press
                                                                                    cuttings
DX0761                            Abitbol                    NA, F, H, R, 403-C, ID Attachment to email reflecting daily
                                                                                    press clippings
DX0762                            Abitbol                       F, H, R, 403-P      Email from Clark Miller to Anish
                                                                                    Patel et al re: FW: Daily press
                                                                                    cuttings
DX0763                            Abitbol                     NA, F, H, R, 403-P Billboard.bix, "Pre-release File
                                                                                    Sharing Helps Album Sales, Says a
                                                                                    Study. So Why Not Replicate This
                                                                                    Legally?"
DX0764                            Flott, Strong                        H            Email from Matt Flott to Hildi
                                                                                    Snodgrass et al re: Digital Strategy
                                                                                    Presentation to BOD



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Exhibit     Date         Date             Witness                Objections/               Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX0765                            Flott, Strong                  H, F, R, 403-C     WMG Digital Strategy presentation

DX0766                            Flott, Strong                   H, F, 403-C       WMG Digital Strategy Appendix
DX0767                            Jang, Strong                    H, F, 403-C       SME Connect Meeting/Anti-Piracy
                                                                                    presentation
DX0768                            Jang, Strong                   H, F, R, 403-P     Email from Jacobsen re Copyright -
                                                                                    Rightscorp
DX0769                            Leak, Strong                         -            Email from Price re Market research
                                                                                    slides
DX0770                            Leak, Strong                         -            Market and Piracy Trends
                                                                                    presentation
DX0771                            Jang, Strong                    H, R, 403-P       Email from Jang re RIAA List of
                                                                                    illegal downloads & sites that
                                                                                    hosted LA Gargola
DX0772                            Benjamin                     F, H, 403-P, 403-C   Email from Ethan Karp to Jason
                                                                                    Miller re: TC Album Stream- Bit
                                                                                    torrent
DX0773                            Flott, Strong                   H, F, 403-C       WMG Anti-Piracy Executive
                                                                                    Summary
DX0774                                                                              Withdrawn
DX0775                            Bahun, Snow, Chatterjee              -            Stroz Freidberg Independent Expert
                                                                                    Assessment of MarkMonitor
                                                                                    AntiPiracy Methodologies

DX0776                            Harrison, Bell, Marks,         H, ID, MIL, R      Memorandum of Understanding
                                  McMullan, Sheckler                                between RIAA , MPAA, and
                                                                                    Participating ISPs
DX0777                            Marks                          H, F, R, 403-C     RIAA Board Meeting presentation

DX0778                            Bahun, Snow, Bell,               H, 403-P         Hash Report
                                  Marks, McMullan,
                                  Chatterjee, Strong,
                                  Paszkowski
DX0779                            Benjamin                       H, R, INC, NB      Email from Ethan Karp to
                                                                                    hwan@peermediatech.com et al,
                                                                                    re: Audible Magic monitoring results
                                                                                    - March Week 4

DX0780                            Benjamin                          ID, NP          Audible Magic P2P Vendor
                                                                                    Monitoring spreadsheet
DX0781                            Benjamin                     H, 403-P, INC, NB    Email from Harry Wan to David
                                                                                    Benjamin re: Audible Magic
                                                                                    monitoring results - March Week 4



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Exhibit     Date         Date             Witness                     Objections/              Description of Exhibit
 No.      Identified   Admitted                                       Stipulated
                                                                      Admissions
DX0782                            Benjamin                                H             Email from Ethan Karp to Frank
                                                                                        Arigo et al re: Weekly P2P Update -
                                                                                        6/6/12
DX0783                            Benjamin                                   H          Top P2P Projects spreadsheet
DX0784                            Leak, Bell, Strong              H, R, 403-C, INC, NB, Email from Sheckler re CCI Blog
                                                                            MIL         Update
DX0785                            Sheckler                         H, F, R, 403-P, MIL Email from Sheckler re Highlights
                                                                                        from IPSOS
DX0786                            Sheckler, Sinnreich              H, F, R, 403-P, MIL US Copyright alert Wave 3 Report,
                                                                                        Sheckler Exhibit 8
DX0787                            Benjamin                                 H, F         Email from David Benjamin to Brad
                                                                                        Buckles re: decent follow up of
                                                                                        Mashable/BitTorrent story

DX0788                            Flott, Strong                    R, 403-P, DUP of    Sony v. Cox, Warner Music Plaintiffs
                                                                     DX0846, MIL       Sound Recording Track-Level
                                                                                       Revenue (2011-2014)

DX0789                            Leak, Strong                         H, 403-C        Email from Jang re Slides for AP
                                                                                       Meeting
DX0790                                                                                 Withdrawn
DX0791                            Bahun, Snow                      NA, F, H, 403-P, R, Log Files, Paszkowski Dep., Exh. 8
                                                                        NTP, NB
DX0792                            Sheckler                              NP or ID       Commercial ISP Notice chart
DX0793                            Sheckler                                 H           Commercial ISP Notice spreadsheet

DX0794                            Marks                                H, 403-P        Email from Jason Runnion to
                                                                                       Victoria Sheckler re: follow-up
                                                                                       Proposal 2014
DX0795                            Marks                                    H           RIAA Proposed pricing for 2014
                                                                                       spreadsheet
DX0796                            Bahun, Sheckler,                         H           Email from Samuel Bahun to
                                  Chatterjee                                           Victoria Sheckler re: torrent
                                                                                       download
DX0797                            Sheckler                               H, NB         Email from Sheckler re RIAA
                                                                                       Response Center Weekly and
                                                                                       Annual Reports
DX0798                            Sheckler                               H, ID         MarkMonitor RIAA Annual
                                                                                       Response Center Report 2013
DX0799                            Bahun, Sheckler,                       H, NB         Email from Samuel Bahun to
                                  Chatterjee                                           Victoria Sheckler re: torrent
                                                                                       download




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0800                            Bahun                            H         Email from Jacob Birk to Jeremy
                                                                             Landis and Samuel Bahun re: Bright
                                                                             house Complaints Sent to TWC

DX0801                            Sheckler, Marks, Snow            H         Email from Jeremy Landis to Jacob
                                                                             Birk re: Brighthouse Complaints
                                                                             Sent to TWC, Deposition of Victoria
                                                                             Sheckler, Exhibit, 6, and Marks Dep.,
                                                                             Exhibit 16

DX0802                            Snow, TBD                        H         Undeliverable Message re
                                                                             abuse@rr.com
DX0803                            Sheckler                      H, 403-C     Undeliverable Copyright
                                                                             Infringement Notice ID
                                                                             #22299174467
DX0804                            Sheckler                          -        Copyright Infringement Notice ID
                                                                             #22299174467
DX0805                            Frendberg, Almeroth,             H         Email from Barbara Smith to
                                  Strong, Snow                               Antipiracy2 re: Copyright
                                                                             Infringement - Notice ID
                                                                             #222103185498
DX0806                            Marks                            H         Spreadsheet of Commercial ISP
                                                                             Notices
DX0807                            Marks                         H, 403-P     Email from Terri Denver to Jason
                                                                             Runnion re: p2p notice volume
                                                                             decrease
DX0808                            Sheckler                      H, 403-P     Email from Runnion re follow-up
                                                                             Proposal 2014
DX0809                            Marks                            H         Email from Victoria Sheckler to Brad
                                                                             Buckles and Steve Marks re: RIAA
                                                                             Response Center Report - March
                                                                             2015
DX0810                            Marks                           H, ID      MarkMonitor RIAA Annual
                                                                             Response Center Report March
                                                                             2015
DX0811                            Marks                            H         Email from Karen Silhol to Victoria
                                                                             Sheckler re: Call?
DX0812                            Sheckler, Marks                 H, ID      Email chain between Teresa Denver,
                                                                             Victoria Sheckler, and others RE:
                                                                             request
DX0813                            Sheckler, Marks               H, 403-P     Email from Audible Magic Support
                                                                             to Victoria Sheckler re: issue




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Exhibit     Date         Date              Witness                Objections/              Description of Exhibit
 No.      Identified   Admitted                                     Stipulated
                                                                   Admissions
DX0814                            Sheckler                       H, 403-C, 403-P    Email from Runnion re Follow-up
                                                                                    Proposal 2014
DX0815                            Sheckler                              H           RIAA Proposed pricing for
                                                                                    2014_Updated on 1-9-2014
DX0816                            Coleman, TBD                    MIL, R, 403-P     Song Earnings spreadsheet 2011-
                                                                                    2014
DX0817                                                                              Withdrawn
DX0818                            Coleman, TBD                    MIL, R, 403-P     Track Level Revenue spreadsheet
                                                                                    (Cox bates numbers)

DX0819                            Coleman, TBD                    MIL, R, 403-P     Track Level Revenue spreadsheet
                                                                                    (Cox bates numbers)

DX0820                            Lesser                        H, F, R, 403-P, MIL Draft Independent Expert
                                                                                    Assessment of Participating Internet
                                                                                    Service Provider Copyright Alert
                                                                                    Program Methodologies Initial AT&T
                                                                                    Report

DX0821                            Lesser                            H, 403-C        Independent Expert Assessment of
                                                                                    MarkMonitor AntiPiracy
                                                                                    Methodologies
DX0822                            Lesser                        H, F, R, 403-P, NB, Independent Expert Assessment of
                                                                        MIL         Participating Internet Service
                                                                                    Provider Copyright Alert Program
                                                                                    Methodologies Initial Comcast
                                                                                    Report

DX0823                            Lesser                        H, F, R, 403-P, MIL Draft Independent Expert
                                                                                    Assessment of Participating Internet
                                                                                    Service Provider Copyright Alert
                                                                                    Program Methodologies Initial Time
                                                                                    Warner Cable Report

DX0824                            Sheckler, Lesser              H, F, R, 403-P, MIL Independent Expert Assessment of
                                                                                    Participating Internet Service
                                                                                    Provider Copyright Alert Program
                                                                                    Methodologies: Initial Verizon
                                                                                    Report




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Exhibit     Date         Date              Witness                 Objections/              Description of Exhibit
 No.      Identified   Admitted                                     Stipulated
                                                                    Admissions
DX0825                            Lesser                        H, F, R, 403-P, MIL Draft Independent Expert
                                                                                    Assessment of Participating Internet
                                                                                    Service Provider Copyright Alert
                                                                                    Program Methodologies Initial
                                                                                    Cablevision Report

DX0826                            Lesser                                H           Stroz Freidberg Engagement letter

DX0827                            Lesser                                H           Email from Rubin re Stroz Report -
                                                                                    RIAA methodology paragraph

DX0828                            Lesser                            H, 403-C        Draft Independent Expert
                                                                                    Assessment of MarkMonitor
                                                                                    AntiPiracy Methodologies
DX0829                            TBD                                H, NA, F       Email from Smith re Copyright
                                                                                    Infringement - Notice
DX0830                            TBD                                H, NA, F       Email from Boehler re security
                                                                                    practices
DX0831                            TBD                                H, NA, F       Email from Dzujna, Christine to
                                                                                    Grandstaff, Shana; Arnhold, Phil re:
                                                                                    RIAA sent us complaints
DX0832                            TBD                                H, NA, F       Email from Arnhold re Brighthouse
                                                                                    IP Ranges
DX0833                            TBD                                H, NA, F       Brighthouse IP Ranges spreadsheet

DX0834                            TBD                                H, NA, F       Email from Birk re Brighthouse IP
                                                                                    Ranges
DX0835                            TBD                                H, NA, F       Email from Arnhold re Brighthouse
                                                                                    IP Ranges
DX0836                            TBD                                H, NA, F       Brighthouse IP Ranges spreadsheet

DX0837                            TBD                                H, NA, F       Email from Arnhold to Laguarda re
                                                                                    MOU members
DX0838                            TBD                                H, NA, F       Email re BHN routed to email
                                                                                    instead of API
DX0839                            TBD                                H, NA, F       Email from Arnhold re Email Notices

DX0840                            TBD                                H, NA, F       Email from King, William to Ron
                                                                                    Christensen, et al. re:
                                                                                    TWC/MarkMonitor call
DX0841                            TBD                                H, NA, F       Email from Phil Arnhold to
                                                                                    jab@dtecnet.com, et al. re: Bright
                                                                                    House IP Ranges



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Exhibit     Date         Date             Witness               Objections/              Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                Admissions
DX0842                            Gallien, Strong,              MIL, R, 403-P    Track Level Revenue spreadsheet
                                  Coleman, TBD                                   (Cox bates numbers)

DX0843                            Coleman, TBD                  MIL, R, 403-P    Track Level Revenue spreadsheet
                                                                                 (Cox bates numbers)

DX0844                            Coleman, TBD                  MIL, R, 403-P    Track Level Revenue spreadsheet
                                                                                 (Cox bates numbers)

DX0845                            Coleman, TBD                  MIL, R, 403-P    Track Level Revenue spreadsheet
                                                                                 (Cox bates numbers)

DX0846                            Coleman, TBD                  MIL, R, 403-P    Track Level Revenue spreadsheet
                                                                                 (Cox bates numbers)

DX0847                            Coleman, TBD                  MIL, R, 403-P    Track Level Revenue spreadsheet
                                                                                 (Cox bates numbers)

DX0848                            TBD                            H, F, 1006      Sound Recordings summary exhibit

DX0849                            Hall                      H, NB, F, 403-C, 403- Center for Copyright Information
                                                                   P, MIL         Press Release, "Music, Movie, TV
                                                                                  and Broadband Leaders Team to
                                                                                  Curb Online Content Theft
                                                                                  Announce Common Framework for
                                                                                  'Copyright Alerts'"

DX0850                            Hall                      H, NB, F, 403-C, 403- Center for Copyright Information
                                                                   P, MIL         Press Release, "Center for Copyright
                                                                                  Information and Copyright Alert
                                                                                  System Fact Sheet"

DX0851                            Hall                           NTP, NTD        Bright House Networks website,
                                                                                 "Bright House Networks' User
                                                                                 Agreement and Privacy Policy"

DX0852                            TBD                            H, F, 1006      Works listed in Exhibit A or Exhibit B
                                                                                 to Plaintiffs' Amended Complaint
                                                                                 but not among list of Plaintiffs'
                                                                                 Works in Plaintiffs' MSJ




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Exhibit     Date         Date              Witness                  Objections/                Description of Exhibit
 No.      Identified   Admitted                                     Stipulated
                                                                    Admissions
DX0853                            TBD                                H, F, 1006         "Plaintiffs' Works" for which
                                                                                        Plaintiffs Aver a Contractual
                                                                                        Relationship with the Author of the
                                                                                        Work, not the Claimant
DX0854                            TBD                                H, F, 1006         "Plaintiffs' Works" for which Bright
                                                                                        House Challenges Plaintiffs'
                                                                                        Purported Chain of Title

DX0855                            TBD                                H, F, 1006         "Plaintiffs' Works" for which the
                                                                                        Copyright Registration Certificate
                                                                                        Submitted by Plaintiffs Does Not List
                                                                                        the Asserted Work or Expressly
                                                                                        Excludes the Asserted Work

DX0856                            TBD                                H, F, 1006      "Plaintiffs' Works" for which
                                                                                     Plaintiffs Aver Ownership of Works
                                                                                     After the Claims Period
DX0857                            Buchan                           NB, NA, F, H      Spreadsheet of Exhibits 4-6 to
                                                                                     Buchan Report
DX0858                            Buchan                           NB, NA, F, H      Spreadsheet of Exhibits 8-10 to
                                                                                     Buchan Report
DX0859                            Buchan                        NB, NA, F, H, 403-P, Spreadsheet "All BHN Validations
                                                                      403-C          (as of 2021-09-27) for Stoneturn"

DX0860                            Buchan                            NB, NA, F, H      Spreadsheet of Exhibits 14-16 to
                                                                                      Buchan Report
DX0861                            Flott, Strong                 NA, H, NB, R, F, 403- Article, "Bewkes: Game of Thrones
                                                                      C, 403-P        Piracy 'Better Than an Emmy'"

DX0862                            Frederiksen                             -             Frederiksen-Cross CV
DX0863                            Geluso, TBD                   NA, H, NB, R, F, 403-   Bassil v. Webster Stipulation
                                                                      C, 403-P
DX0864                            Geluso, TBD                   NA, H, NB, R, F, 403-   Johnson v. UMG Stipulation
                                                                      C, 403-P
DX0865                            Geluso, TBD                   NA, H, NB, R, F, 403-   Lee v. Hill Corporate Disclosure
                                                                      C, 403-P          Statement
DX0866                            Geluso, TBD                   NA, H, NB, R, F, 403-   Green v. West Defendants' Expert
                                                                      C, 403-P          Witness Disclosures
DX0867                            Geluso, TBD                   NA, H, NB, R, F, 403-   Frisby v. Sony Stipulation
                                                                      C, 403-P
DX0868                            Geluso, TBD                   NA, H, NB, R, F, 403-   Lastrada v. Ronson Rule 7.1
                                                                      C, 403-P          Statement of Defendant Vevo LLC




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Exhibit     Date         Date             Witness                  Objections/                Description of Exhibit
 No.      Identified   Admitted                                     Stipulated
                                                                   Admissions
DX0869                            Geluso, TBD                  NA, H, NB, R, F, 403-Mayimba v. Sony Disclosure
                                                                     C, 403-P       Statement
DX0870                            Geluso, TBD                   H, NB, R, F, 403-C, Pringle v. Adams Order granting
                                                                      403-P         Stipulation
DX0871                            Geluso, TBD                   H, NB, R, F, 403-C, Kernel v. Mosley Order granting
                                                                      403-P         Extension
DX0872                                                                              Withdrawn
DX0873                            Kokakis, Strong                 H, NB, 403-C      Defendant Bright House Networks,
                                                                                    LLC's Notice of Deposition to
                                                                                    Plaintiffs Universal Music Corp. et
                                                                                    al.
DX0874                            Leak, McMullan               DUP of DX0872, H, RIAA News Release "Music, Movie,
                                                               NB, R, 403-P, 403-C, TV and Broadband Leaders Team to
                                                                       MIL          Curb Online Content Theft"

DX0875                            McMullan                           IX or NP          Center for Copyright Information
                                                                                       website, Frequently Asked
                                                                                       Questions
DX0876                            TBD                             H, NB, 403-P         Rightscorp Transfers
DX0877                            Almeroth                           ILL, ID           https://www.pewresearch.org/inter
                                                                                       net/fact-sheet/internet-broadband/

DX0878                            Almeroth                           ID, H, R          https://www.pewresearch.org/fact-
                                                                                       tank/2021/03/26/about-three-in-
                                                                                       ten-u-s-adults-say-they-are-almost-
                                                                                       constantly-online/

DX0879                            Almeroth                             H, R            H. Zimmerman, “OSI Reference
                                                                                       Model-The ISO Model of
                                                                                       Architecture for Open Systems
                                                                                       Interconnection,” IEEE Transactions
                                                                                       on Communication, vol. COM-28

DX0880                            Almeroth                             H, R            IETF RFCs 1033, both published in
                                                                                       November 1987
DX0881                            Almeroth                             H, R            IETF RFCs 1034, both published in
                                                                                       November 1987
DX0882                            Almeroth                             H, R            S. Rollins and K. Almeroth, “Pixie: A
                                                                                       Jukebox Architecture to Support
                                                                                       Efficient Peer Content Exchange,”
                                                                                       ACM Multimedia, Juan Les Pins,
                                                                                       FRANCE, December 2002




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Exhibit     Date         Date            Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX0883                            Almeroth                       H, R       Michael Piatek, Tadayoshi Kohno,
                                                                            and Arvind Krishnamurthy,
                                                                            Challenges and Directions for
                                                                            Monitoring P2P File Sharing
                                                                            Networks – or – Why My Printer
                                                                            Received a DMCA Takedown Notice;
                                                                            available at
                                                                            http://dmca.cs.washington.edu/uw
                                                                            cse_dmca_tr.pdf

DX0884                            Almeroth                       H, R       Verizon v. F.C.C., 740 F.3d 623, 633
                                                                            (D.C. Cir. 2014)
DX0885                            Almeroth                       ID, H      https://transition.fcc.gov/statelocal
                                                                            /presentations/Open-Internet-
                                                                            Order.pdf
DX0886                            Almeroth                      ID, H, R     In the Matters of Formal Complaint
                                                                            of Free Press & Pub. Knowledge
                                                                            Against Comcast Corp., 23 F.C.C.
                                                                            Rcd. 13028 (2008)

DX0887                            Almeroth                         -        Peha, Jon M., “The Benefits and
                                                                            Risks of Mandating Network
                                                                            Neutrality, and the Quest for a
                                                                            Balanced Policy,” 34th
                                                                            Telecommunications Policy
                                                                            Research Conference, September
                                                                            2006
DX0888                            Almeroth                      ID, H, R    https://blog.udemy.com/peer-to-
                                                                            peer-networking/
DX0889                            Almeroth                      ID, H, R    https://www.fcc.gov/document/fcc-
                                                                            releases-open-internet-order

DX0890                            Almeroth                         -        Peha, Jon M. and Mateus,
                                                                            Alexandre, “Policy Implications of
                                                                            Technology for Detecting P2P and
                                                                            Copyright Violations,” January 2014,
                                                                            Telecommunications Policy, Vol. 38


DX0891                            Coleman                     H, R, 403-P   52 Ways to Screw an Artist, by
                                                                            Warner Bros. – Paul Resnikoff
                                                                            https://www.digitalmusicnews.com
                                                                            /2012/09/19/jamestaylor/



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Exhibit     Date         Date           Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                              Stipulated
                                                             Admissions
DX0892                            Coleman                    H, R, 403-P   How to Steal an Artist’s Streaming
                                                                           Money, in 3 Easy Steps
                                                                           https://www.digitalmusicnews.com
                                                                           /2014/06/18/3-easy-steps-screwing-
                                                                           artists-streaming-royalties/


DX0893                            Coleman                    H, R, 403-P   Pandora Has Stopped Paying Artists
                                                                           Over 50% of Their Money
                                                                           https://www.digitalmusicnews.com
                                                                           /2017/04/25/pandora-stopped-
                                                                           paying/

DX0894                            Coleman                    H, R, 403-P   Inside the Black Box: A Deep Dive
                                                                           Into Music’s Monetization Mystery
                                                                           https://www.forbes.com/sites/nick
                                                                           messitte/2015/04/15/inside-the-
                                                                           black-box-a-deep-dive-into-musics-
                                                                           monetization-
                                                                           mystery/?sh=6eec19fd5d4a

DX0895                            Coleman                    H, R, 403-P   How Streaming Services are
                                                                           Screwing Lady Gaga (and Every
                                                                           Other Artist)
                                                                           https://www.digitalmusicnews.com
                                                                           /2014/06/10/streaming-services-
                                                                           screwing-lady-gaga-every-artist/

DX0896                            Coleman                    H, R, 403-P   How To Get All of the Royalties You
                                                                           Never Knew Existed
                                                                           https://www.digitalmusicnews.com
                                                                           /2016/02/15/how-to-get-all-the-
                                                                           royalties-you-never-knew-existed/

DX0897                            Coleman                    H, R, 403-P   RIAA Accounting: How to Sell 1
                                                                           Million Albums and Still Owe
                                                                           $500,000
                                                                           https://www.techdirt.com/articles/
                                                                           20110707/03264014993/riaa-
                                                                           accounting-how-to-sell-1-million-
                                                                           albums-still-owe-500000.shtml




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0898                            Coleman                      H, R, 403-P   Suit Seeks Higher Royalties From
                                                                             Universal Music
                                                                             https://mediadecoder.blogs.nytime
                                                                             s.com/2011/05/19/suit-seeks-
                                                                             higher-royalties-from-universal-
                                                                             music/
DX0899                            Sinnreich                    H, R, 403-P   Albini, S. (1993). The Problem With
                                                                             Music. The Baffler.
                                                                             https://thebaffler.com/salvos/the-
                                                                             problem-with-music
DX0900                            Sinnreich                         -        US Census Bureau. 2017 NAICS
                                                                             Manual.
                                                                             https://www.census.gov/naics/refer
                                                                             ence_files_tools/2017_NAICS_Man
                                                                             ual.pdf.
DX0901                            Sinnreich                    H, R, 403-P   Aguiar, L., & Martens, B. (2016).
                                                                             Digital music consumption on the
                                                                             internet: evidence from clickstream
                                                                             data. Information Economics and
                                                                             Policy, 34, 27-43.
DX0902                            Sinnreich                       H, R       Altman, E., Wong, S., & Rojas-Mora,
                                                                             J. (2009, June). P2P business and
                                                                             legal models for increasing
                                                                             accessibility to popular culture. In
                                                                             International Conference on Digital
                                                                             Business. (pp. 130-138) Springer,
                                                                             Berlin, Heidelberg.

DX0903                            Sinnreich                       H, R       American Assembly, Columbia
                                                                             University (2012). Where do Music
                                                                             Collections Come From?
                                                                             https://piracy.americanassembly.or
                                                                             g/where-do-music-collections-come-
                                                                             from/
DX0904                            Sinnreich                    H, R, 403-P   Andersen, B., & Frenz, M. (2010).
                                                                             Don’t blame the P2P file-sharers:
                                                                             the impact of free music downloads
                                                                             on the purchase of music CDs in
                                                                             Canada. Journal of Evolutionary
                                                                             Economics, 20(5), 715-740.




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0905                            Sinnreich                       H, R       Andrade, N., Mowbray, M., Lima, A.,
                                                                             Wagner, G., & Ripeanu, M. (2005,
                                                                             August). Influences on cooperation
                                                                             in bittorrent communities. In
                                                                             Proceedings of the 2005 ACM
                                                                             SIGCOMM workshop on Economics
                                                                             of peer-to-peer systems (pp. 111-
                                                                             115)

DX0906                            Sinnreich                    H, R, 403-P   Arditi, D. (2020). Getting Signed:
                                                                             Record Contracts, Musicians, and
                                                                             Power in Society.

DX0907                            Sinnreich                    H, R, 403-P   ASCAP, 2015 Annual Report.
                                                                             https://www.ascap.com/~/media/fil
                                                                             es/pdf/about/annual-reports/2015-
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DX0908                            Sinnreich                       H, R       ASCAP, Music Connects Us: 2016
                                                                             Annual Report
DX0909                            Sinnreich                       H, R       Australian Copyright Council (2020),
                                                                             Fair Dealing: What Can I Use
                                                                             Without Permission?.
                                                                             https://copyright.org.au/acc_prod/
                                                                             ACC/Information_Sheets/Fair_Deali
                                                                             ng__What_Can_I_Use_Without_Per
                                                                             mission.aspx.
DX0910                            Sinnreich                      ID, H, R    Available on the World Intellectual
                                                                             Property Organization website:
                                                                             https://www.wipo.int/ip-
                                                                             outreach/en/tools/research/details.
                                                                             jsp?id=2462

DX0911                            Sinnreich                       H, R       Bauerly, B. C., McCord, R. F.,
                                                                             Hulkower, R., & Pepin, D. (2019).
                                                                             Broadband Access as a Public Health
                                                                             Issue. The Journal of Law, Medicine
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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0912                            Sinnreich                    H, R, 403-P   Benner, M. J., & Waldfogel, J.
                                                                             (2016). The song remains the same?
                                                                             Technological change and
                                                                             positioning in the recorded music
                                                                             industry. Strategy Science, 1(3), 129-
                                                                             147.
DX0913                            Sinnreich                       H, R       Benz, Christman & Garrity (2003,
                                                                             March 22). Consolidation seen on
                                                                             fast track for big five. Billboard

DX0914                            Sinnreich                       H, R       Bhattacharjee, S., Gopal, R.,
                                                                             Lertwachara, K., & Marsden, J. R.
                                                                             (2006). Whatever happened to
                                                                             payola? An empirical analysis of
                                                                             online music sharing. Decision
                                                                             Support Systems, 42(1), 104-120.

DX0915                            Sinnreich                       H, R       Billboard Staff (2007). Yahoo!
                                                                             Defeats Sony BMG Infringement
                                                                             Suit.
                                                                             https://www.billboard.com/music/
                                                                             music-news/yahoo-defeats-sony-
                                                                             bmg-infringement-suit-1324238/

DX0916                            Sinnreich                       H, R       Bittorrent blog (2014). Curren$y
                                                                             Mixtape Bundle Hits 3 Million
                                                                             Downloads.
                                                                             https://www.bittorrent.com/blog/2
                                                                             014/03/05/curreny-mixtape-bundle-
                                                                             hits-3-million-downloads/

DX0917                            Sinnreich                       H, R       BitTorrent blog (2014). De La Soul X
                                                                             BitTorrent Bundle: Smell the
                                                                             DA.I.S.Y.
                                                                             https://www.bittorrent.com/blog/2
                                                                             014/03/26/de-la-soul-x-bittorrent-
                                                                             bundle-smell-the-da-i-s-y/




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Exhibit     Date         Date             Witness              Objections/         Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0918                            Sinnreich                       H, R       Blistein, J. (2013). Lady Gaga
                                                                             Documents ‘Do What U Want’ in
                                                                             ‘BitTorrent Bundle’. Rolling Stone.
                                                                             https://www.rollingstone.com/musi
                                                                             c/music-news/lady-gaga-documents-
                                                                             do-what-u-want-in-bittorrent-
                                                                             bundle-247053/

DX0919                            Sinnreich                       H, R       Borland, J. (2005). Last waltz for
                                                                             Grokster. CNET.
                                                                             https://www.cnet.com/news/last-
                                                                             waltz-for-grokster/
DX0920                            Sinnreich                       H, R       Business Wire (2012). Counting
                                                                             Crows Releases BitTorrent Music
                                                                             Bundle and Announces New Tour.
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                                                                             ws/home/20120514005643/en/Cou
                                                                             nting-Crows-Releases-BitTorrent-
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                                                                             Tour

DX0921                            Sinnreich                       H, R       Byrd, K. N. (2011). Behind the
                                                                             Music: Jeff Robinson on the 360
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DX0922                            Sinnreich                       H, R       Caves, R. E. (2002). Creative
                                                                             Industries: Contracts Between Art
                                                                             and Commerce, Chapter 3
DX0923                            Sinnreich                       H, R       Chiu, D. (2014). Thom Yorke’s Solo
                                                                             Album on BitTorrent Reaches 1.1
                                                                             Million Downloads. The Fader.
                                                                             https://www.thefader.com/2014/1
                                                                             0/03/thom-yorkes-solo-album-
                                                                             bittorrent-11-million-downloads




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0924                            Sinnreich                       H, R       DIRECTIVE (EU) 2019/790 OF THE
                                                                             EUROPEAN PARLIAMENT AND OF
                                                                             THE COUNCIL of 17 April 2019 on
                                                                             copyright and related rights in the
                                                                             Digital Single Market and amending
                                                                             Directives 96/9/EC and 2001/29/EC,
                                                                             https://eur-lex.europa.eu/legal-
                                                                             content/EN/TXT/HTML/?uri=CELEX:
                                                                             32019L0790&from=EN.


DX0925                            Sinnreich                       H, R       Dredge, S. (2013). Public Enemy
                                                                             bring the noise to fans... on
                                                                             BitTorrent. The Guardian.
                                                                             https://www.theguardian.com/musi
                                                                             c/2013/jun/19/public-enemy-
                                                                             bittorrent-bundle
DX0926                            Sinnreich                       H, R       Dredge, S. (2015). Doctor Who gets
                                                                             official BitTorrent ‘box-set’ from the
                                                                             BBC. The Guardian.
                                                                             https://www.theguardian.com/tech
                                                                             nology/2015/apr/02/doctor-who-
                                                                             bittorrent-box-set-bbc
DX0927                            Sinnreich                    H, R, 403-P   Duhigg, C. (2006, Aug. 28). Getting
                                                                             Warner Music More Upbeat. Los
                                                                             Angeles Times.
                                                                             https://www.latimes.com/archives/
                                                                             la-xpm-2006-aug-28-fi-lyor28-
                                                                             story.html
DX0928                            Sinnreich                       H, R       Fact (2014). De La Soul to release
                                                                             entire catalog for free. Fact
                                                                             magazine.
                                                                             https://www.factmag.com/2014/02
                                                                             /13/de-la-soul-to-release-entire-
                                                                             catalog-for-free/
DX0929                            Sinnreich                       H, R       FCC (2021). Fourteenth Broadband
                                                                             Deployment Report.
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                                                                             ents/FCC-21-18A1.pdf.
DX0930                            Sinnreich                       H, R       Frosio, G. (2016). Digital piracy
                                                                             debunked: A short note on digital
                                                                             threats and intermediary liability.
                                                                             Internet Policy Review, 5(1).



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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0931                            Sinnreich                       H, R       Fuchs, C. (2013). Societal and
                                                                             ideological impacts of deep packet
                                                                             inspection internet surveillance.
                                                                             Information, Communication &
                                                                             Society, 16(8), 1328-1359

DX0932                            Sinnreich                       H, R       Gaither, C. (2006). Studio Sees Profit
                                                                             in What Was Piracy. Los Angeles
                                                                             Times.
                                                                             https://www.latimes.com/archives/
                                                                             la-xpm-2006-may-09-fi-torrent9-
                                                                             story.html
DX0933                            Sinnreich                       H, R       Hammond, R. G. (2014). Profit leak?
                                                                             Pre-release file sharing and the
                                                                             music industry. Southern Economic
                                                                             Journal, 81(2), 387-408.

DX0934                            Sinnreich                       H, R       Heitner, D. (2016). North American
                                                                             Sports Market At $75.7 Billion By
                                                                             2020, Led By Media Rights. Forbes.
                                                                             https://www.forbes.com/sites/darr
                                                                             enheitner/2016/10/10/north-
                                                                             american-sports-market-to-reach-
                                                                             75-7-billion-by-2020/

DX0935                            Sinnreich                       H, R       Hempel, J. (2017). The Inside Story
                                                                             of BitTorrent’s Bizarre Collapse.
                                                                             Wired.
                                                                             https://www.wired.com/2017/01/t
                                                                             he-inside-story-of-bittorrents-
                                                                             bizarre-collapse/
DX0936                            Sinnreich                       H, R       Horowitz, J. M. & Igielnik, R. (2020).
                                                                             Most Parents of K-12 Students
                                                                             Learning Online Worry About Them
                                                                             Falling Behind. Pew Research
                                                                             Center.
                                                                             https://www.pewresearch.org/socia
                                                                             l-trends/2020/10/29/most-parents-
                                                                             of-k-12-students-learning-online-
                                                                             worry-about-them-falling-behind/




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Exhibit     Date         Date             Witness              Objections/            Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0937                            Sinnreich                       H, R         Houghton, B. (2015). Fader
                                                                               Magazine Offers Entire 16 Year
                                                                               Archive Free For Digital Download.
                                                                               Hypebot.
                                                                               https://www.hypebot.com/hypebot
                                                                               /2015/10/fader-magazine-offers-
                                                                               entire-16-year-archive-free-for-
                                                                               digital-download.html
DX0938                            Sinnreich                    ID, ILL, H, R   https://now.bt.co/
DX0939                            Sinnreich                      ID, H, R      https://pimeyes.com/en/premium.

DX0940                            Sinnreich                       ID, R        https://www.ceicdata.com/en/unit
                                                                               ed-states/consumer-confidence-
                                                                               index/consumer-confidence-index

DX0941                            Sinnreich                      ID, H, R      https://www.imf.org/en/Countries/
                                                                               USA#countrydata
DX0942                            Sinnreich                      ID, H, R      https://www.pewresearch.org/wp-
                                                                               content/uploads/2020/04/COVTEC
                                                                               HACT-topline-methodology.pdf.


DX0943                            Sinnreich                      ID, H, R      https://www.pewresearch.org/wp-
                                                                               content/uploads/2021/03/Non-
                                                                               internet_users_2021_Methodology-
                                                                               Topline_FOR_RELEASE.pdf.

DX0944                            Sinnreich                        H, R        Hu, J. (2002). MP3.com pays $53.4
                                                                               million to end copyright suit. CNET.
                                                                               https://www.cnet.com/news/mp3-
                                                                               com-pays-53-4-million-to-end-
                                                                               copyright-suit/

DX0945                            Sinnreich                        H, R        IFPI, Global Music Report 2016
DX0946                            Sinnreich                        H, R        IFPI, Global Music Report 2017
DX0947                            Sinnreich                        H, R        IFPI, Global Music Report 2021
DX0948                            Sinnreich                        H, R        Jeffrey & Garrity (1999, Dec. 4). For
                                                                               Brick & Mortar Retail, Biz is Solid
                                                                               But Buzz is Silent. Billboard

DX0949                            Sinnreich                        H, R        Johns, A. (2010). Piracy: The
                                                                               Intellectual Property Wars from
                                                                               Gutenberg to Gates, Chapter 3



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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0950                            Sinnreich                       H, R       Kash, I. A., Lai, J. K., Zhang, H., &
                                                                             Zohar, A. (2012, April). Economics of
                                                                             BitTorrent communities. In
                                                                             Proceedings of the 21st
                                                                             international conference on World
                                                                             Wide Web

DX0951                            Sinnreich                       H, R       Kravets, D. (2011). U.N. Report
                                                                             Declares Internet Access a Human
                                                                             Right. Wired.
                                                                             https://www.wired.com/2011/06/i
                                                                             nternet-a-human-right/
DX0952                            Sinnreich                       H, R       Krueger, A. (2019). Rockonomics.
                                                                             Chapter 4
DX0953                            Sinnreich                       H, R       Kyles, Y. (2013). Curren$y’s “Jet Life
                                                                             BitTorrent Bundle” Tops 4 Million
                                                                             Downloads. All HipHop.
                                                                             https://allhiphop.com/headlines/cu
                                                                             rrenys-jet-life-bittorrent-bundle-
                                                                             tops-4-million-downloads/

DX0954                            Sinnreich                       H, R       Lamb, M. & Steinberg, A. (2021).
                                                                             The tangled web: Is cyber
                                                                             participation still predictive of
                                                                             offline civic engagement? Journal of
                                                                             Elections, Public Opinion, and
                                                                             Parties.

DX0955                            Sinnreich                       H, R       Latonero. M. O. (2003). Music in the
                                                                             age of the internet: Social and
                                                                             cultural implications of emerging
                                                                             communication technology.
                                                                             University of Southern California.
                                                                             [Doctoral dissertation, University of
                                                                             Southern California]. ProQuest
                                                                             Dissertations and Theses Global

DX0956                            Sinnreich                         -        Lee, J. F. (2018). Purchase, pirate,
                                                                             publicize: Private-network music
                                                                             sharing and market album sales.
                                                                             Information Economics and Policy,
                                                                             42, 35-55.




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0957                            Sinnreich                       H, R       Lessig, L. (2004). Free Culture: How
                                                                             Big Media Uses Technology and the
                                                                             Law to Lock Down Culture and
                                                                             Control Creativity, Chapter 4

DX0958                            Sinnreich                       H, R       Luckerson, V. (2013). “Here’s How
                                                                             Much Money Top Musicians Are
                                                                             Making on Spotify.” Time Magazine.
                                                                             https://business.time.com/2013/12
                                                                             /03/heres-how-much-money-top-
                                                                             musicians-are-making-on-spotify/.


DX0959                            Sinnreich                       H, R       Mattera, S. (2016). Time Warner
                                                                             Inc's HBO Leads With Subscribers,
                                                                             but Netflix Inc Is Closing the Gap.
                                                                             The Motley Fool.
                                                                             https://www.fool.com/investing/ge
                                                                             neral/2016/02/05/time-warner-incs-
                                                                             hbo-leads-with-subscribers-but-
                                                                             ne.aspx

DX0960                            Sinnreich                       H, R       McGarry, C. (2014). BitTorrent’s
                                                                             legit Bundles edge out pirated
                                                                             content in top downloads. PCWorld.

DX0961                            Sinnreich                       H, R       McNary, D. (2016). A24,
                                                                             Oscilloscope, Honora Join New
                                                                             BitTorrent Now Program. Variety.
                                                                             https://variety.com/2016/digital/ne
                                                                             ws/a24-oscilloscope-honora-
                                                                             bittorrent-program-1201801808/




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0962                            Sinnreich                       H, R       Music Licensing Under Title 17:
                                                                             Hearing Before the Subcommittee
                                                                             on Courts, Intellectual Property, and
                                                                             the Internet of the Committee on
                                                                             the Judiciary, House of
                                                                             Representatives, One Hundred
                                                                             Thirteenth Congress, Second
                                                                             Session, June 10 and June 25, 2014,
                                                                             p. 274.
                                                                             https://www.govinfo.gov/content/p
                                                                             kg/CHRG-113hhrg88240/pdf/CHRG-
                                                                             113hhrg88240.pdf


DX0963                            Sinnreich                       H, R       Nathanson (2004, Aug 28). Taking
                                                                             Issue: A Bear Market for Music.
                                                                             Billboard
DX0964                            Sinnreich                       H, R       Nicolaou, A and Henderson R.
                                                                             (2020). Warner Music lands $1.9bn
                                                                             share sale for owner Len Blavatnik,
                                                                             Financial Times.
                                                                             https://www.ft.com/content/e1979
                                                                             389-6c35-4403-b1e9-
                                                                             6edd097e7372.
DX0965                            Sinnreich                       H, R       Nielsen Music Year-End Report U.S.
                                                                             2016. https://www.nielsen.com/wp-
                                                                             content/uploads/sites/3/2019/04/2
                                                                             016-year-end-music-report-us.pdf.


DX0966                            Sinnreich                       H, R       O’Reilly Publishing (2009). Impact of
                                                                             P2P and Free Distribution on Book
                                                                             Sales.
                                                                             https://learning.oreilly.com/library/
                                                                             view/impact-of-
                                                                             p2p/9780596804862/
DX0967                            Sinnreich                      H, R, F     Oberholzer-Gee, F. & Strumpf, K.
                                                                             (2007). The effect of file sharing on
                                                                             record sales: An empirical analysis.
                                                                             Journal of Political Economy, 2007,
                                                                             vol. 115, no.1




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0968                            Sinnreich                      H, R, F     Oberholzer-Gee, F. & Strumpf, K.
                                                                             (2016). The effect of file sharing on
                                                                             record sales, revisited . Information
                                                                             Economics and Policy 37 (2016) 61-
                                                                             66.

DX0969                            Sinnreich                       H, R       Passman, D. S. (2019). All You Need
                                                                             to Know About the Music Business:
                                                                             10th edition, Chapters 7-13

DX0970                            Sinnreich                       H, R       Patrin, N. (2014). Diplo, Florida
                                                                             [review]. Pitchfork.
                                                                             https://pitchfork.com/reviews/albu
                                                                             ms/20044-diplo-florida/
DX0971                            Sinnreich                       H, R       PBS Publicity (2007). PBS Partners
                                                                             with BitTorrent to Reach Audiences
                                                                             Online.
                                                                             https://www.pbs.org/about/about-
                                                                             pbs/blogs/news/pbs-partners-with-
                                                                             bittorrent-to-reach-audiences-
                                                                             online-november-7-2007/

DX0972                            Sinnreich                       H, R       Perpetua, M. (2011). LimeWire
                                                                             Settles With Record Companies for
                                                                             $105 Million. Rolling Stone.
                                                                             https://www.rollingstone.com/musi
                                                                             c/music-news/limewire-settles-with-
                                                                             record-companies-for-105-million-
                                                                             181125/
DX0973                            Sinnreich                    H, R, 403-P   Price, J. (2012). How Major Music
                                                                             Companies Are Getting Your
                                                                             Royalties: The Global Songwriter
                                                                             Shell Game. Hypebot.
                                                                             https://www.hypebot.com/hypebot
                                                                             /2012/03/the-global-songwriter-
                                                                             shell-game-why-the-major-music-
                                                                             companies-are-getting-your-
                                                                             royalties.html




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0974                            Sinnreich                      ID, H, R    The cost of a CD Recording Industry
                                                                             Association of America (2000).
                                                                             archived at
                                                                             http://web.archive.org/web/20000
                                                                             901073253/http://riaa.org/MD-US-
                                                                             7.cfm.
DX0975                            Sinnreich                       H, R       Resnikoff, P. (2012, Sep 19). 52
                                                                             Ways to Screw an Artist, by Warner
                                                                             Bros. Records. Digital Music News.
                                                                             https://www.digitalmusicnews.com
                                                                             /2012/09/19/jamestaylor/

DX0976                            Sinnreich                     INC, H, R    Ripeanu, M., Mowbray, M.,
                                                                             Nazareno, A., & Lima, A. (2006).
                                                                             Gifting technologies: A BitTorrent
                                                                             case study. First Monday, 11(11).
                                                                             https://firstmonday.org/ojs/index.p
                                                                             hp/fm/article/view/1412/1330.


DX0977                            Sinnreich                       H, R       Robb, D. (2021). RIAA Cites Studies
                                                                             Saying California’s Proposed FAIR
                                                                             Act Would “Destabilize” Music Biz.
                                                                             Deadline.com.
                                                                             https://www.deadline.com/2021/0
                                                                             5/fairact-riaa-criticism-studies-
                                                                             music-industry-california-
                                                                             1234749046/

DX0978                            Sinnreich                     INC, H, R    Sanchez, J. (2008). 750,000 lost
                                                                             jobs? The dodgy digits behind the
                                                                             war on piracy. ArsTechnica.
                                                                             https://arstechnica.com/tech-
                                                                             policy/2008/10/dodgy-digits-behind-
                                                                             the-war-on-piracy/
DX0979                            Sinnreich                       H, R       Seltzer, W. (2010). Free speech
                                                                             unmoored in copyright's safe
                                                                             harbor: Chilling effects of the DMCA
                                                                             on the first amendment. Harv. JL &
                                                                             Tech., 24, 171




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0980                            Sinnreich                       H, R       Seng, D. (2021). Copyrighting
                                                                             Copywrongs: An Empirical Analysis
                                                                             of Errors with Automated DMCA
                                                                             Takedown Notices. Santa Clara High
                                                                             Tech. LJ, 37, 119

DX0981                            Sinnreich                       H, R       Sinnreich, A. (2000). “Digital music
                                                                             subscriptions: post-Napster product
                                                                             formats,” Jupiter Research

DX0982                            Sinnreich                       H, R       Sinnreich, A. (2002). “File Sharing:
                                                                             To Preserve Music Market Value,
                                                                             Look Beyond Easy Scapegoats.”
                                                                             Jupiter Research

DX0983                            Sinnreich                       H, R       Sinnreich, A. (2019). The Essential
                                                                             Guide to Intellectual Property

DX0984                            Sinnreich                       H, R       Sinnreich, A. (2019). Music,
                                                                             copyright, and technology: A
                                                                             dialectic in five moments.
                                                                             International Journal of
                                                                             Communication, 13.
DX0985                            Sinnreich                    H, R, 403-P   Sinnreich, A. (2016). “Slicing the Pie:
                                                                             The Search for an Equitable
                                                                             Recorded Music Economy,” in P.
                                                                             Wikström and R. DeFillippi (Eds.),
                                                                             Business Innovation and Disruption
                                                                             in the Music Industry. Edward Elgar
                                                                             (2016).
DX0986                            Sinnreich                    H, R, 403-P   Sinnreich, A. (2007). Right Move,
                                                                             Wrong Reasons: Inside the
                                                                             EMI/Apple Deal. TruthDig.
                                                                             https://www.truthdig.com/articles/
                                                                             right-move-wrong-reasons-inside-
                                                                             the-emiapple-deal/
DX0987                            Sinnreich                       H, R       Siwek, S. E. (2009). Copyright
                                                                             industries in the US economy: The
                                                                             2003-2007. Report prepared for the
                                                                             International Intellectual Property
                                                                             Alliance (IIPA).




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0988                            Sinnreich                       H, R       Spangler, T. (2013). Madonna’s Free
                                                                             Movie Tops 1.2 Mil Downloads via
                                                                             BitTorrent. Variety.
                                                                             https://variety.com/2013/digital/ne
                                                                             ws/madonnas-free-movie-tops-1-2-
                                                                             mil-downloads-via-bittorrent-
                                                                             1200734281/

DX0989                            Sinnreich                       H, R       Spangler, T. (2021). Cop Played
                                                                             Taylor Swift Song Hoping YouTube’s
                                                                             Copyright System Would Block BLM
                                                                             Protestor’s Video, Ploy Backfires.
                                                                             Variety.
                                                                             https://variety.com/2021/digital/ne
                                                                             ws/police-taylor-swift-copyright-
                                                                             youtube-blm-1235010756/

DX0990                            Sinnreich                       H, R       Speare-Cole, R. (2021). Cop Accused
                                                                             of Playing Copyrighted Music While
                                                                             Being Filmed to Block Video Sharing.
                                                                             Newsweek.
                                                                             https://www.newsweek.com/califor
                                                                             nia-police-officer-plays-music-
                                                                             copyright-social-media-livestream-
                                                                             1568253

DX0991                            Sinnreich                     INC, H, R    Steele, A. (2017). “Music Industry
                                                                             Recovery Continues, Powered by a
                                                                             Surge in Subscriptions.” The Wall
                                                                             Street Journal.
                                                                             https://www.wsj.com/articles/musi
                                                                             c-industry-recovery-continues-
                                                                             powered-by-a-surge-in-
                                                                             subscriptions-1505927551.

DX0992                            Sinnreich                     INC, H, R    Steele, A. (2021). “Apple Music
                                                                             Reveals How Much It Pays When
                                                                             You Stream a Song.”
                                                                             https://www.wsj.com/articles/appl
                                                                             e-music-reveals-how-much-it-pays-
                                                                             when-you-stream-a-song-
                                                                             11618579800




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Exhibit     Date         Date             Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX0993                            Sinnreich                       H, R       Tanaka, T. (2004). Does file sharing
                                                                             reduce music CD sales?: A case of
                                                                             Japan. IIR Working Paper WP#05-05.
                                                                             Conference on IT innovation.

DX0994                            Sinnreich                    H, R, 403-P   Sinnreich, A. (2013). The Piracy
                                                                             Crusade. https://j.mp/TPC-archive
                                                                             (UMass Press, 2013)
DX0995                            Sinnreich                       INC        Thielman, S. (2013). Bewkes: Game
                                                                             of Thrones Piracy 'Better Than an
                                                                             Emmy'. AdWeek.
                                                                             https://www.adweek.com/converg
                                                                             ent-tv/bewkes-game-thrones-piracy-
                                                                             better-emmy-151738/

DX0996                            Sinnreich                    H, R, 403-P   Trujillo, M. (2016). UN rights council
                                                                             condemns internet blocking. The
                                                                             Hill.
                                                                             https://thehill.com/policy/technolo
                                                                             gy/286236-un-rights-council-
                                                                             condemns-internet-blocking

DX0997                            Sinnreich                       H, R       Tyrowicz, J., Krawczyk, M., & Hardy,
                                                                             W. (2020). Friends or foes? A meta-
                                                                             analysis of the relationship between
                                                                             “online piracy” and the sales of
                                                                             cultural goods. Information
                                                                             Economics and Policy, 53, 100879.

DX0998                            Sinnreich                         -        U.S. Census Bureau. Service Annual
                                                                             Survey Latest Data (NAICS-basis):
                                                                             2019, Table 2.
                                                                             https://www.census.gov/data/table
                                                                             s/2019/econ/services/sas-
                                                                             naics.html.
DX0999                            Sinnreich                    H, R, 403-P   Van Buskirk, E. (2007). Record
                                                                             Labels Still Using P2P Networks for
                                                                             Research. Wired.
                                                                             https://www.wired.com/2007/09/r
                                                                             ecord-labels-s/
DX1000                            Sinnreich                        ID        Vivendi Annual Report, 2015,
                                                                             https://www.vivendi.com/en/public
                                                                             ation/annual-report-2015.



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Exhibit     Date         Date             Witness              Objections/            Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX1001                            Sinnreich                       H, R         Vogels, Perrin, Rainie, & Anderson
                                                                               (2020). 53% of Americans Say the
                                                                               Internet Has Been Essential During
                                                                               the COVID-19 Outbreak. Pew
                                                                               Research Center.
                                                                               https://www.pewresearch.org/inter
                                                                               net/2020/04/30/53-of-americans-
                                                                               say-the-internet-has-been-essential-
                                                                               during-the-covid-19-outbreak/


DX1002                            Sinnreich                        H, R        Weber Shandwick (2018). The Great
                                                                               American Search for Healthcare
                                                                               Information, p.2.
                                                                               https://www.webershandwick.com/
                                                                               wp-
                                                                               content/uploads/2018/11/Healthca
                                                                               re-Info-Search-Report.pdf
DX1003                            Sinnreich                     INC, H, R      Wolf, C. & Best, H. (2014). Linear
                                                                               Regression. The SAGE Handbook of
                                                                               Regression Analysis and Causal
                                                                               Inference. p. 24

DX1004                            Sinnreich                      ID, H, R      http://web.archive.org/web/20000
                                                                               901073253/http://riaa.org/MD-US-
                                                                               7
DX1005                                                                         Withdrawn
DX1006                            Sinnreich                    ID, INC, H, R   https://www.internetsociety.org/his
                                                                               tory/
DX1007                            Sinnreich                      ID, H, R      https://www.pbs.org/about/about-
                                                                               pbs/blogs/news/pbs-partners-with-
                                                                               bittorrent-to-reach-audiences-
                                                                               online-november-7-2007/

DX1008                            Sinnreich                      ID, H, R      https://www.pewresearch.org/wp-
                                                                               content/uploads/2020/04/COVTEC
                                                                               HACT-topline-methodology.pdf


DX1009                            Sinnreich                      ID, H, R      https://www.pewresearch.org/wp-
                                                                               content/uploads/2021/03/Non-
                                                                               internet_users_2021_Methodology-
                                                                               Topline_FOR_RELEASE.pdf



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Exhibit     Date         Date             Witness               Objections/           Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX1010                            Sinnreich                     H, R, 403-P
                                                                               https://www.sec.gov/Archives/edga
                                                                               r/data/313838/0001193125172039
                                                                               39/d358485d20f.htm
DX1011                            Sinnreich                    DUP of DX1073   https://www.sony.com/en/SonyInfo
                                                                               /IR/library/FY2015_20F_PDF.pdf

DX1012                            Snow                             H, R        2016 Hard Drive Directory
DX1013                            Snow                             H, R        CRE0079_Media_Tags_Hashes_08-
                                                                               25-2021.xlsx
DX1014                            Snow                             H           https://en.wikipedia.org/wiki/CEG_
                                                                               TEK_International.
DX1015                            Snow                     DUP of DX0950, H, R Ian A. Kash, John K. Lai, Haoqi
                                                                               Zhang, and Aviv Zohar, “Economics
                                                                               of BitTorrent Communities,” in
                                                                               Proceedings of the 21st
                                                                               International Conference on World
                                                                               Wide Web (April 2012): 221–230

DX1016                                                                         Withdrawn
DX1017                                                                         Withdrawn
DX1018                            Snow                             H, R        Rightscorp, “About Rightscorp,”
                                                                               accessed May 26, 2021,
                                                                               http://www.rightscorp.com/about-
                                                                               rightscorp.html.
DX1019                            Snow                              W          Email chain between Joshua
                                                                               Rychlinski, Crowell & Moring, to
                                                                               Nathan Hamstra, Quinn Emanuel;
                                                                               Gabriel Ramsey, Crowell & Moring;
                                                                               Jeff Gould, Oppenheim & Zebrak
                                                                               Law; Michelle A. Clark, Quinn
                                                                               Emanuel; Michael Brody, Winston &
                                                                               Strawn; Linda Brewer, Quinn
                                                                               Emanuel; and Matt Oppenheim,
                                                                               Oppenheim & Zebrak Law (May 4,
                                                                               2021) [RE: Audible Magic follow-up]




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Exhibit     Date         Date              Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX1020                            Snow                             H, R       Email from Joshua Rychlinski,
                                                                              Crowell & Moring, to Nathan
                                                                              Hamstra, Quinn Emanuel; Gabriel
                                                                              Ramsey, Crowell & Moring; Jeff
                                                                              Gould, Oppenheim & Zebrak Law;
                                                                              Michelle A. Clark, Quinn Emanuel;
                                                                              Michael Brody, Winston & Strawn;
                                                                              Linda Brewer, Quinn Emanuel; and
                                                                              Matt Oppenheim, Oppenheim &
                                                                              Zebrak Law (May 10, 2021) [RE:
                                                                              Audible Magic follow-up]

DX1021                            Snow                             H, R       WR1127195_000006117 - Email
                                                                              from Julea Casel to Jason Runnion
                                                                              (February 19, 2014) [RE: AM-ID
                                                                              request for RIAA program]

DX1022                            Strong                           H, R       Sandvine 2016 Global Internet
                                                                              Phenomena Latin America & North
                                                                              America
DX1023                            Strong                           H, R       “Apple Introduces iTunes — World’s
                                                                              Best and Easiest to Use Jukebox
                                                                              Software,” Apple, January 9, 2001,
                                                                              https://www.apple.com/newsroom
                                                                              /2001/01/09Apple-Introduces-
                                                                              iTunes-Worlds-Best-and-Easiest-To-
                                                                              Use-Jukebox-Software/


DX1024                            Strong                             -        “Charter Communications
                                                                              Completes Purchase of Time
                                                                              Warner Cable,” Reuters, May 18,
                                                                              2016,
                                                                              https://www.reuters.com/article/us-
                                                                              twc-m-a/charter-communications-
                                                                              completes-purchase-of-time-warner-
                                                                              cable-idUSKCN0Y92BR

DX1025                            Strong                             -        Sandvine Global Internet
                                                                              Phenomena Report, 1H 2013




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Exhibit     Date         Date              Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX1026                            Strong                             -        “Intellectual Property -
                                                                              Observations on Efforts to Quantify
                                                                              the Economic Effects of Counterfeit
                                                                              and Pirated Goods,” United States
                                                                              Government Accountability Office
                                                                              Report to Congressional
                                                                              Committees, Report GAO-10-423,
                                                                              April 12, 2010

DX1027                            Strong                           H, R       “Mechanical Royalties Guide |
                                                                              2021,” Royalty Exchange, February
                                                                              2, 2021
                                                                              https://www.royaltyexchange.com/
                                                                              blog/mechanical-royalties
DX1028                            Strong                           H, R       “P2P File-Sharing Risks,” Federal
                                                                              Trade Commission, Consumer
                                                                              Information
DX1029                            Strong                           H, R       “Streaming Price Bible w/ 2016
                                                                              Rates: Spotify, Apple Music,
                                                                              YouTube, Tidal, Amazon, Pandora,
                                                                              Etc.,” The Trichordist, January 16,
                                                                              2017,
                                                                              https://thetrichordist.com/2017/01
                                                                              /16/updated-streaming-price-bible-
                                                                              w-2016-rates-spotify-apple-music-
                                                                              youtube-tidal-amazon-pandora-etc/

DX1030                            Strong                           H, R       Adegoke, Yinka, “Amazon Launches
                                                                              Early Version of Web Music
                                                                              Service,” Reuters, September 25,
                                                                              2007,
                                                                              https://www.reuters.com/article/us-
                                                                              amazon-music/amazon-launches-
                                                                              early-version-of-web-music-service-
                                                                              idUSWNAS474420070925

DX1031                            Strong                           H, R       Allen, Mark A., Robert E. Hall, and
                                                                              Victoria A. Lazear, “Reference Guide
                                                                              on Estimation of Economic
                                                                              Damages,” in Reference Manual on
                                                                              Scientific Evidence, Federal Judicial
                                                                              Center, The National Economic
                                                                              Press, 2011



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Exhibit     Date         Date              Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX1032                            Strong                             -        Bright House Networks Residential
                                                                              and SMB Internet Tiers

DX1033                                                                        Withdrawn
DX1034                            Strong                           H, R       Dean, Katie, “Winwood: Roll With
                                                                              P2P, Baby,” Wired.com, July 9,
                                                                              2004,
                                                                              http://www.wired.com/entertainm
                                                                              ent/music/news/2004/07/64128

DX1035                            Strong                           H, R       Dmitry Pastukhov, “What Music
                                                                              Streaming Services Pay Per Stream
                                                                              (And Why It Actually Doesn’t
                                                                              Matter),” Soundcharts Blog, June
                                                                              26, 2019,
                                                                              https://soundcharts.com/blog/musi
                                                                              c-streaming-rates-payouts
DX1036                            Strong                           H, R       Edelman, Scott A., “Copyright
                                                                              Infringement Damages,” Chapter 2
                                                                              of Intellectual Property Law:
                                                                              Damages and Remedies, Terence P.
                                                                              Ross, Ed., ALM Properties, Inc.

DX1037                            Strong                           INC        EMI Annual Review 2007/08
DX1038                            Strong                           H, R       Exchange Rate,
                                                                              https://www.ofx.com/en-us/forex-
                                                                              news/historical-exchange-
                                                                              rates/yearly-average-rates/

DX1039                            Strong                           H, R       Fowlkes, Karl, “The Unsung Royalty:
                                                                              The Mechanical Royalty,” Medium,
                                                                              December 29, 2019,
                                                                              https://medium.com/the-
                                                                              courtroom/the-unsung-royalty-the-
                                                                              mechanical-royalty-f43a12d59e62


DX1040                            Strong                         INC, H, R    Frank, Robert and Ben Bernanke,
                                                                              “Chapter 11: Externalities and
                                                                              Property Rights” in Principles of
                                                                              Economics (Boston: McGraw-Hill,
                                                                              2001)




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Exhibit     Date         Date              Witness              Objections/         Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX1041                            Strong                             -        Joshua P. Friedlander "RIAA 2018
                                                                              Year-End Music Industry Revenue
                                                                              Report," RIAA
DX1042                            Strong                             -        Joshua P. Friedlander, “News and
                                                                              Notes on 2016 RIAA Music Industry
                                                                              Shipment and Revenue Statistics”

DX1043                                                                        Withdrawn
DX1044                            Strong                           H, R       Kawashima, Dale, “An Overview of
                                                                              Mechanical Royalty Rates,”
                                                                              Songwriter Universe,
                                                                              https://www.songwriteruniverse.co
                                                                              m/mechanical.htm

DX1045                            Strong                        H, R, 403-P   McQuivey, James L., Ellen Daley,
                                                                              and April Lawson, “The End of the
                                                                              Music Industry as We Know It,”
                                                                              Forrester Research, Inc., February
                                                                              15, 2008
DX1046                            Strong                         INC, H, R    Nicas, Jack, “How Apple's 30% App
                                                                              Store Cut Became a Boon and a
                                                                              Headache,” The New York Times,
                                                                              August 14, 2020,
                                                                              https://www.nytimes.com/2020/08
                                                                              /14/technology/apple-app-store-
                                                                              epic-games-fortnite.html
DX1047                            Strong                             -        Nielsen Holdings, “Nielsen Music
                                                                              Year-End Report U.S, 2016,” 2017

DX1048                            Strong                             -        Joshua P. Friedlander, “News and
                                                                              Notes on 2014 RIAA Music Industry
                                                                              Shipment and Revenue Statistics”

DX1049                            Strong                             -        Joshua P. Friedlander, “News and
                                                                              Notes on 2015 RIAA Music Industry
                                                                              Shipment and Revenue Statistics”




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Exhibit     Date         Date              Witness               Objections/          Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX1050                            Strong                         H, R, 403-P   Richwine, Lisa and Alexei Oreskovic,
                                                                               “Google Launches Music Service,”
                                                                               Reuters, November 17, 2011,
                                                                               https://www.reuters.com/article/us-
                                                                               google-music/google-launches-
                                                                               music-service-
                                                                               idUSTRE7AF29D20111118

DX1051                            Strong                         H, R, 403-P   Sandoval, Greg, “Will former Google
                                                                               exec help save the music industry?,”
                                                                               CNET, April 2, 2008

DX1052                            Strong                           ID, H, R    Sandvine Global Internet
                                                                               Phenomena Report, 2H 2014
DX1053                            Strong                           ID, H, R    Sandvine Global Internet
                                                                               Phenomena Report, 1H 2014
DX1054                            Strong                           ID, H, R    Sandvine Global Internet
                                                                               Phenomena Report, 2H 2013
DX1055                            Strong                            H, R       Sinha-Roy, Piya, “Streaming Music
                                                                               in U.S. up 93 Percent in 2015; Adele
                                                                               Tops Album Sales,” Reuters, January
                                                                               6, 2016,
                                                                               https://www.reuters.com/article/us-
                                                                               music-streaming-usa/streaming-
                                                                               music-in-u-s-up-93-percent-in-2015-
                                                                               adele-tops-album-sales-
                                                                               idUSKBN0UK2G620160106

DX1056                            Strong                          INC, H, R    Smith, Ethan, and Yukari Iwatani
                                                                               Kane, “Apple Changes Tune on
                                                                               Music Pricing,” The Wall Street
                                                                               Journal, January 7, 2009,
                                                                               https://www.wsj.com/articles/SB12
                                                                               3126062001057765

DX1057                            Strong                            H, R       Vivendi Financial Report and
                                                                               Audited Consolidated Financial
                                                                               Statements for the Year Ended
                                                                               December 31, 2014
DX1058                            Strong, Sinnreich                   -        Watters, Paul A., et al., “How Much
                                                                               Material on BitTorrent Is Infringing
                                                                               Content? A Case Study,”
                                                                               Information Security Technical
                                                                               Report, 16 (2011)

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Exhibit     Date         Date              Witness               Objections/          Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX1059                            Strong                            H, R       White Paper on Remixes, First Sale,
                                                                               and Statutory Damages – Copyright
                                                                               Policy, Creativity, and Innovation in
                                                                               the Digital Economy, Department of
                                                                               Commerce – Internet Policy Task
                                                                               Force, January 2016

DX1060                            Strong                            INC        Wingfield, Nick and Ethan Smith,
                                                                               “Music's New Gatekeeper,” The
                                                                               Wall Street Journal, March 9, 2007,
                                                                               https://www.wsj.com/articles/SB11
                                                                               7340340327331757

DX1061                            Frendberg, Almeroth,              H, R       Email from antipiracy2@riaa.com to
                                  Strong                                       saves@outpost.dtecnet.com re:
                                                                               Copyright Infringement Notice ID
                                                                               #222104530889

DX1062                                                                         Withdrawn
DX1063                            Strong                              -        Charter Communications, Inc. Form
                                                                               10-K for Fiscal Year Ended
                                                                               December 31, 2015
DX1064                            Strong                              -        Charter Communications, Inc. Form
                                                                               10-K for Fiscal Year Ended
                                                                               December 31, 2016
DX1065                            Strong                              -        Warner Music Group Corp. Form 10-
                                                                               K for Fiscal Year Ended September
                                                                               30, 2013
DX1066                            Strong                              -        Warner Music Group Corp. Form 10-
                                                                               K for Fiscal Year Ended September
                                                                               30, 2014
DX1067                            Strong, Sinnreich                   -        Warner Music Group Corp. Form 10-
                                                                               K for Fiscal Year Ended September
                                                                               30, 2015
DX1068                            Strong                              -        Warner Music Group Corp. Form 10-
                                                                               Q for the Quarterly Period Ended
                                                                               March 31, 2016
DX1069                            Strong                              -        Warner Music Group Corp. Form 10-
                                                                               K for Fiscal Year Ended September
                                                                               30, 2016
DX1070                            Strong                             R         Warner Music Group Corp. Form 10-
                                                                               K for Fiscal Year Ended September
                                                                               30, 2017



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Exhibit     Date         Date              Witness                Objections/             Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX1071                            Strong                               -           Sony Corporation Form 20-F for the
                                                                                   Fiscal Year Ended March 31, 2013

DX1072                            Strong                               -           Sony Corporation Form 20-F for the
                                                                                   Fiscal Year Ended March 31, 2014

DX1073                            Strong                               -           Sony Corporation Form 20-F for the
                                                                                   Fiscal Year Ended March 31, 2015

DX1074                            Strong                               -           Sony Corporation Form 20-F for the
                                                                                   Fiscal Year Ended March 31, 2016

DX1075                            Strong                               R           Sony Corporation Form 20-F for the
                                                                                   Fiscal Year Ended March 31, 2017

DX1076                            Strong                         DUP of DX0682     Vivendi 2016 Annual Report
DX1077                            Strong                        R, DUP of DX0698   Vivendi 2017 Annual Report
DX1078                                                                             Withdrawn
DX1079                                                                             Withdrawn
DX1080                            Strong                               -           Vivendi Financial Report and
                                                                                   Audited Consolidated Financial
                                                                                   Statements for the Year Ended
                                                                                   December 31, 2016
DX1081                            Strong                               R           Vivendi Financial Report and
                                                                                   Audited Consolidated Financial
                                                                                   Statements for the Year Ended
                                                                                   December 31, 2017
DX1082                            Strong                               -           Investing in Music, IFPI 2014
DX1083                            Strong                               -           Digital Music Report, IFPI 2015
DX1084                            Strong                               -           Investing in Music, IFPI 2016
DX1085                            Strong                               -           U.S. Music Industry Year-End
                                                                                   Review: 2013, Nielsen Holdings
DX1086                            Strong                               -           2014 Nielsen Music U.S. Report,
                                                                                   Nielsen Holdings
DX1087                            Strong                               -           2015 Nielsen Music U.S. Report,
                                                                                   Nielsen Holdings
DX1088                            Strong                               -           Labels at Work: The Music Business
                                                                                   in the Digital Age, RIAA

DX1089                            Strong                               -           Friedlander, Joshua P., “News and
                                                                                   Notes on 2016 Mid-Year RIAA Music
                                                                                   Shipment and Revenue Statistics,”
                                                                                   RIAA



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Exhibit     Date         Date              Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX1090                            Strong                             -        Friedlander, Joshua P., “News and
                                                                              Notes on 2016 RIAA Shipment and
                                                                              Revenue Statistics,” RIAA

DX1091                            Strong                             -        Friedlander, Joshua P., “News and
                                                                              Notes on 2017 RIAA Revenue
                                                                              Statistics,” RIAA
DX1092                            Strong                             -        2018 Year-End Music Industry
                                                                              Revenue Report, RIAA
DX1093                            Strong                             -        Friedlander, Joshua P., “Year-End
                                                                              2019 RIAA Music Revenues Report,”
                                                                              RIAA
DX1094                            Strong                             -        Friedlander, Joshua P., “Year-End
                                                                              2020 RIAA Revenue Statistics,” RIAA

DX1095                            Strong                            NB        Sandvine Global Internet
                                                                              Phenomena Latin America & North
                                                                              America May 2015
DX1096                            Strong                           R, NB      Year-End Report U.S. 2020,
                                                                              MRC/Billboard
DX1097                            Strong                            NB        Charter Communications News
                                                                              Release, “Charter to Acquire Bright
                                                                              House Networks for $10.4 Billion”

DX1098                            Coleman                        R, NB, H     Statista, Market share of music
                                                                              publishers in the United Sates from
                                                                              4th quarter 2017 to 1st quarter
                                                                              2019, published by Statista
                                                                              Research Department, Jan. 8, 2021
                                                                              https://www.statista.com/statistics
                                                                              /983264/quarterly-market-share-of-
                                                                              music-publishers-us/

DX1099                            Coleman                        R, NB, H     Statista, Revenue market share of
                                                                              the largest music publishers
                                                                              worldwide from 2007-2019,
                                                                              published by Statista Research
                                                                              Department, Jan. 8, 2021
                                                                              https://www.statista.com/statistics
                                                                              /272520/market-share-of-the-
                                                                              largest-music-publishers-
                                                                              worldwide/




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Exhibit     Date         Date           Witness              Objections/           Description of Exhibit
 No.      Identified   Admitted                              Stipulated
                                                             Admissions
DX1100                            Coleman                     R, NB, H       Statista, Total recorded music
                                                                            market share worldwide in 2019, by
                                                                            label, published by Statista Research
                                                                            Department, Jan. 8, 2021
                                                                            https://www.statista.com/statistics
                                                                            /947107/recorded-music-market-
                                                                            worldwide-label/

DX1101                            Coleman                     R, NB, H      Statista, Market share of record
                                                                            companies in the United States
                                                                            from 2011 to 2019, by label
                                                                            ownership, published by Statista
                                                                            Research Department, Jan. 8, 2021
                                                                            https://www.statista.com/statistics
                                                                            /317632/market-share-record-
                                                                            companies-label-ownership-usa/


DX1102                            Coleman                     NB, H, R      Sentric Music, What Are Mechanical
                                                                            Royalties?, August 24, 2017
                                                                            https://sentricmusic.com/blog/wha
                                                                            t-are-mechanical-royalties/

DX1103                            Coleman                         -         RIAA Year-End 2017,
                                                                            www.riaa.com/wp-
                                                                            content/uploads/2018/03/RIAA-
                                                                            Year-End-2017-News-and-Notes.pdf

DX1104                            Coleman                     NB, H, R      RIAA Album Equivalent Unit Chart,
                                                                            https://en.wikipedia.org/wiki/Albu
                                                                            m-equivalent_unit

DX1105                            Coleman                     R, NB, H      Soundcloud "What Spotify, Apple, &
                                                                            Others Pay",
                                                                            https://soundcharts.com/blog/musi
                                                                            c-streaming-rates-payouts
DX1106                            Coleman                    R, NB, H, ID   Statista share of music streaming
                                                                            subscribers worldwide in 2019, by
                                                                            company, released April 2020,
                                                                            survey time period 2019,
                                                                            https://www.statista.com/statistics
                                                                            /653926/music-streaming-service-
                                                                            subscriber-share/



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Exhibit     Date         Date              Witness                 Objections/               Description of Exhibit
 No.      Identified   Admitted                                    Stipulated
                                                                   Admissions
DX1107                            Coleman                             H, R            Billboard's Decade-End Charts,
                                                                                      Billboard's Top Artists of the 2010s,
                                                                                      www.billboard.com/charts/decade-
                                                                                      end/top-artists

DX1108                            Coleman                              H, R           Billboard's Decade-End Charts,
                                                                                      Billboard's Top Country Artists of
                                                                                      the 2010s,
                                                                                      www.billboard.com/charts/decade-
                                                                                      end/top-country-artists
DX1109                            TBD                                    R            U.S. Copyright Office Public Catalog,
                                                                                      https://cocatalog.loc.gov/cgi-
                                                                                      bin/Pwebrecon.cgi?DB=local&PAGE
                                                                                      =First

DX1110                            Bell                                   -            Stroz Friedberg Independent Expert
                                                                                      Assessment of MarkMonitor
                                                                                      AntiPiracy Methodologies

DX1111                            Bell                             H, NB, R, MIL      CCI Recommits to Independent
                                                                                      Evaluation of Content Methodology

DX1112                            Bell                           H, F, R, NB, 403-P   ARS Technica article, "Class-action
                                                                                      suit says Rightscorp makes illegal,
                                                                                      harassing phone calls"

DX1113                            Bell                           H, F, R, NB, 403-P   The Globe article, "Defendant: Her
                                                                                      kids downloaded music"
DX1114                            Bell, Marks                    H, 403-P, NB, MIL    Center for Copyright Information,
                                                                                      The Copyright Alert System, Phase
                                                                                      One and Beyond

DX1115                            Benjamin                        H, F, NB, 403-P    BitTorrent Blog, "Lady Gaga X
                                                                                     BitTorrent Bundle to Premiere Net
                                                                                     Week"
DX1116                            Blietz                           H, F, NB, 403-P   Mashable Article, "BitTorrent
                                                                                     defender sends scathing letter to
                                                                                     music-industry lobby"
DX1117                            Flott, Strong                 H, F, NB, 403-P, MIL HipHopDX article, "Lupe Fiasco says
                                                                                     'I Can't Wait to Get Off' Atlantic
                                                                                     Records"




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Exhibit     Date         Date               Witness                  Objections/             Description of Exhibit
 No.      Identified   Admitted                                       Stipulated
                                                                     Admissions
DX1118                            Flott, Strong                  H, F, 403-P, NB, MIL Loudwire article, "Slipknot Guitarist
                                                                                      Jim Root: 'We Don't See A Penny Off
                                                                                      of Record Sales'"

DX1119                            Carfora, Strong                     NB, H, R         Sony Entertainment Business
                                                                                       Supplemental Information
DX1120                            Helman, TBD                            F, H          LinkedIn Page for Motion Pictures
                                                                                       Laboratories Inc. (MovieLabs)

DX1121                            Helman                         NA, F, H, 403-P, MIL Declaration of Jim Helman Pursuant
                                                                                      to Fed. R. Evid. 902(11)

DX1122                            Helman                                  H            Movie Labs Technical Guidance for
                                                                                       Complying with HEOA Provisions

DX1123                            Marks                          H, F, NB, 403-P, MIL PR Week article, "RIAA suffers PR
                                                                                      fallout as suit lands on front pages"

DX1124                            McMullan                                R            Website Public Catalog, Singable
                                                                                       songs for the very young

DX1125                            McMullan                                R            Website Public Catalog, Live aus
                                                                                       Berlin
DX1126                            McMullan                                R            Website Public Catalog, The Sellout

DX1127                            McMullan                                R            Website Public Catalog, Clancy's
                                                                                       Tavern
DX1128                            McMullan                                R            Website Public Catalog, Songs about
                                                                                       Jane
DX1129                            McMullan                                R            Tupac Shakur's Mother Suing Over
                                                                                       Royalties
DX1130                            Parry                                   R            Tracie Parry LinkedIn profile
DX1131                            Parry                                   R            Website Public Catalog, Pop Life

DX1132                            Paczowski                      NA, F, H, 403-P, R,   RIAA Notice
                                                                       NTP, ID
DX1133                            Paczowski                      NA, F, H, 403-P, R,   Log files
                                                                       NTP, ID
DX1134                            Paczowski                      NA, F, H, 403-P, R,   Song list
                                                                       ID, NTP
DX1135                            Kokakis                        H, F, NA, R, 403-P    Email from Nelson to
                                                                                       abuse@charter.net re Copyright
                                                                                       infringement Notice
DX1136                                                                                 Withdrawn

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Exhibit     Date         Date            Witness              Objections/           Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX1137                                                                       Withdrawn
DX1138                            Sheckler                    H, R, 403-P    A decade of iTunes singles killed the
                                                                             music industry
DX1139                            Sheckler                       H, R        How iTunes crushed music sales

DX1140                            Sheckler                       H, R        Changes Coming to the iTunes Store

DX1141                            Sheckler                    F, H, NA, NB   2014 Proposed Pricing
DX1142                            Woirhaye                          -        David Woirhaye LinkedIn profile

DX1143                                                                       Withdrawn
DX1144                            Wold                          NA, F, H     Declaration of Vance Ikezoye
DX1145                            Chatterjee                       -         “How much material on BitTorrent
                                                                             is infringing content? A case study,”
                                                                             Information Security Technical
                                                                             Report, Vol. 16, Issue 2, May 2011.


DX1146                            Chatterjee                    H, F, NA     Balhara, A Review On Torrent and
                                                                             Torrent Poisoning Over Internet,
                                                                             International Journal of Computer
                                                                             Science and Management Studies,
                                                                             Vol. 22, No. 1, (January 2016) 7-12

DX1147                            Chatterjee                       -         Cisco Visual Networking Index –
                                                                             Forecast and Methodology, 2007-
                                                                             2012 (June 16, 2008)
DX1148                            Chatterjee                       -         Cisco Visual Networking Index –
                                                                             Forecast and Methodology, 2012-
                                                                             2017 (May 29, 2013)
DX1149                            Chatterjee                       -         Cisco Visual Networking Index –
                                                                             Forecast and Methodology, 2015-
                                                                             2020 (2016)
DX1150                            Chatterjee                     H, R        Degtiarenko, Are Torrents Safe in
                                                                             2021?, https://macpaw.com/how-
                                                                             to/are-torrents-safe

DX1151                            Chatterjee                     H, R        Dhungel, et al., A Measurement
                                                                             Study of Attacks on BitTorrent
                                                                             Leechers, The 7th International
                                                                             Workshop on Peer-to-Peer Systems
                                                                             (IPTPS) (February 2008)




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Exhibit     Date         Date            Witness                 Objections/             Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX1152                            Chatterjee                        H, R          Dramatico Entertainment Ltd., et al.
                                                                                  v. British Sky Broadcasting Ltd., et
                                                                                  al., [2012] EWHC 268 (Ch) (February
                                                                                  20, 2012)
DX1153                            Chatterjee                       ID, H, R       http://citeseerx.ist.psu.edu/viewdo
                                                                                  c/download?doi=10.1.1.224.8922&r
                                                                                  ep=rep1&type=pdf
DX1154                            Chatterjee                    ID, H, R, 403-P   http://citeseerx.ist.psu.edu/viewdo
                                                                                  c/download?doi=10.1.1.700.8547&r
                                                                                  ep=rep1&type=pdf
DX1155                            Chatterjee                       ID, H, R       http://etree.org
DX1156                            Chatterjee                       ID, H, R       http://wiki.etree.org/index.php?pag
                                                                                  e=AboutEtreeOrg
DX1157                            Chatterjee                       ID, H, R       https://aifb.kit.edu/images/7/74/20
                                                                                  04_448_Broekstra_Bibster_-
                                                                                  _A_Sem_1.pdf
DX1158                            Chatterjee                       R, NB, ID      https://investors.wmg.com/news-
                                                                                  releases/news-release-
                                                                                  details/snocap-signs-agreement-
                                                                                  warner-music-group-securing-
                                                                                  industry-wide


DX1159                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?artistName=khalifa&trackTit
                                                                                   le=work%20hard,%20play%20hard&
                                                                                   tab=search&showReleases=false&st
                                                                                   art=0&number=10

DX1160                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=GB8LG1200328&t
                                                                                   ab=lookup&showReleases=0&start=
                                                                                   0&number=10
DX1161                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=GBUM70603730&
                                                                                   tab=lookup&showReleases=0&start
                                                                                   =0&number=10
DX1162                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=GBUM70704744&
                                                                                   tab=lookup&showReleases=0&start
                                                                                   =0&number=10




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Exhibit     Date         Date            Witness                 Objections/               Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                  Admissions
DX1163                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=GBUM70705843&
                                                                                   tab=lookup&showReleases=0&start
                                                                                   =0&number=10
DX1164                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=GBUV70601754&t
                                                                                   ab=lookup&showReleases=0&start=
                                                                                   0&number=10
DX1165                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=USA2P1166611&t
                                                                                   ab=lookup&showReleases=0&start=
                                                                                   0&number=10
DX1166                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=USA371475682&t
                                                                                   ab=lookup&showReleases=0&start=
                                                                                   0&number=10
DX1167                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=USRC10001167&t
                                                                                   ab=lookup&showReleases=0&start=
                                                                                   0&number=10
DX1168                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=USRC10100353&t
                                                                                   ab=lookup&showReleases=0&start=
                                                                                   0&number=10
DX1169                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=USRCA1930578&t
                                                                                   ab=lookup&showReleases=0&start=
                                                                                   0&number=10
DX1170                            Chatterjee                  NA, F, H, 403-P, NB, https://isrc.soundexchange.com/#!/
                                                                    NTP, NE        search?isrcCode=USSM10607467&t
                                                                                   ab=lookup&showReleases=0&start=
                                                                                   0&number=10
DX1171                            Chatterjee                        ID, H, R       https://smallbusiness.chron.com/pe
                                                                                   ertopeer-file-sharing-work-
                                                                                   57706.html
DX1172                            Chatterjee                    ID, H, R, 403-P    https://udayton.teamdynamix.com/
                                                                                   TDClient/1868/Portal/KB/ArticleDet
                                                                                   ?ID=46760
DX1173                            Chatterjee                        ID, H, R       https://web.archive.org/web/20120
                                                                                   919090830/http://riaa.com/
                                                                                   (archived version ofriaa.com from
                                                                                   September 19, 2012
DX1174                                                                             Withdrawn



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Exhibit     Date         Date            Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX1175                            Chatterjee                    ID, H, R    https://www.gutenberg.org/attic/fil
                                                                            e_sharing.html
DX1176                            Chatterjee                     H, R       Kolenbrander, Frank; Le-Khac, Nhien-
                                                                            An; and Kechadi, Tahar, “Forensic
                                                                            Analysis of Ares Galaxy Peer-To-
                                                                            Peer Network” (2016). Annual
                                                                            ADFSL Conference on Digital
                                                                            Forensics, Security and Law

DX1177                            Chatterjee                     H, R       Kryczka. et al., TorrentGuard:
                                                                            Stopping Scam and Malware
                                                                            Distribution in the BitTorrent
                                                                            Ecosystem, Computer Networks,
                                                                            Vol. 59, (December 2013)

DX1178                            Chatterjee                     H, R       Kubovic, How black-hats misuse the
                                                                            torrent ecosystem for fun and
                                                                            profit, WeLiveSecurity blog (August
                                                                            1, 2017)
                                                                            https://www.welivesecurity.com/20
                                                                            17/08/01/view-torrents-threat/


DX1179                            Chatterjee                     H, R       Liang, et al., “Pollution in P2P file
                                                                            sharing systems,” in 24th IEEE
                                                                            International Conference on
                                                                            Computer Communications
                                                                            (INFOCOM 2005), Miami, Florida,
                                                                            USA, 2005
DX1180                            Chatterjee                     H, R       Liberatore, et al., Forensic
                                                                            Investigation Of Peer-To-Peer File
                                                                            Sharing Networks, 7 Digital
                                                                            Investigation, S95-S103 (2010)
DX1181                            Chatterjee                     H, R       Montassier, et al., Content Pollution
                                                                            Quantification in Large P2P
                                                                            Networks: a Measurement Study on
                                                                            KAD, 2011 IEEE International
                                                                            Conference on Peer-to-Peer
                                                                            Computing (August 31-September 2,
                                                                            2011)




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Exhibit     Date         Date            Witness              Objections/          Description of Exhibit
 No.      Identified   Admitted                               Stipulated
                                                              Admissions
DX1182                            Chatterjee                     H, R       Musa, et al., Malware Propagation
                                                                            Modelling in Peer-to-Peer
                                                                            Networks: A Review, 6th
                                                                            International Conference on the
                                                                            Future of the Internet of Things and
                                                                            Cloud Workshops (August 2018)

DX1183                            Chatterjee                     H, R       Paganini, What are the risks for
                                                                            average users who download
                                                                            content via torrent?, INFOSEC (June
                                                                            5, 2019)
                                                                            https://resources.infosecinstitute.c
                                                                            om/topic/torrent-content-
                                                                            downloading-risks/
DX1184                            Chatterjee                     H, R       Santos, et al., FUNNEL: Choking
                                                                            Polluters in BitTorrent File Sharing
                                                                            Communities, IEEE Transactions on
                                                                            Network and Service Management (
                                                                            Volume: 8, Issue: 4, December
                                                                            2011)
DX1185                            Chatterjee                     H, R       Shin, et al., Malware Prevalence in
                                                                            the KaZaA File-Sharing Network,
                                                                            IMC Proceedings of the 6th ACM
                                                                            SIGCOMM Conference on Internet
                                                                            Measurement, October 25-27, 2006
                                                                            (Rio de Janiero, Brazil)


DX1186                            Chatterjee                     H, R       The Gnutella Protocol Specification
                                                                            v0.4,” Document Revision 1.2

DX1187                            Chatterjee                     H, R       U.S. Patent No. 8,130,746 “A
                                                                            System for Distributing Decoy
                                                                            Contents in a Peer to Peer Network”
                                                                            in July 2004
DX1188                            Chatterjee                     H, R       Vrijenhoek, Why Bittorrent Sites Are
                                                                            A Malware Cesspool, The Mac
                                                                            Security Blog (July 20, 2017),
                                                                            https://www.intego.com/mac-
                                                                            security-blog/why-bittorrent-sites-
                                                                            are-a-malware-cesspool/




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Exhibit     Date         Date            Witness               Objections/             Description of Exhibit
 No.      Identified   Admitted                                Stipulated
                                                               Admissions
DX1189                            Chatterjee                        -           York Yannikos, Jonathan Schluessler,
                                                                                Martin Steinebach, Christian Winter,
                                                                                Kalman Graffi. Hash-Based File
                                                                                Content Identification Using
                                                                                Distributed Systems . 9th
                                                                                International Conference on Digital
                                                                                Forensics (DF), Jan 2013, Orlando,
                                                                                FL, United States. pp.119-134

DX1190                            Chatterjee                       H, R         Kryczka, et al., FakeDetector: A
                                                                                measurement-based tool to get rid
                                                                                out of fake content in your
                                                                                BitTorrent Downloads,
                                                                                arXiv:1105.3671v1 [cs.CR] (May 18,
                                                                                2011)
DX1191                            Chatterjee                     ID, H, R       “Downloading Debian CD Images
                                                                                with BitTorrent,” Available at:
                                                                                https://www.debian.org/CD/torrent-
                                                                                cd/ (Last Accessed November 4,
                                                                                2021).

DX1192                            Chatterjee                       H, R         Cuevas, et al., Is Content Publishing
                                                                                in BitTorrent Altruistic or Profit-
                                                                                Driven?, ACMCoNEXT 2010,
                                                                                November 30 – December 3 2010,
                                                                                Philadelphia, Pennsylvania

DX1193                                                                          Withdrawn
DX1194                            Chatterjee                  ID, H, R, 403-P   https://mashable.com/2015/08/11/
                                                                                bittorrent-fires-back-riaa/ (Last
                                                                                Accessed November 4,2021).

DX1195                            Chatterjee                       H, R         Hosanagar, Kartik and Tan, Yong
                                                                                and Han, Peng, Dynamic Referrals in
                                                                                Peer-to-PeerMedia Distribution
                                                                                (June 1, 2008). Available at SSRN:
                                                                                https://ssrn.com/abstract=926915o
                                                                                r
                                                                                http://dx.doi.org/10.2139/ssrn.926
                                                                                915.

DX1196                                                                          Withdrawn
DX1197                                                                          Withdrawn



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Exhibit     Date         Date              Witness               Objections/                Description of Exhibit
 No.      Identified   Admitted                                   Stipulated
                                                                 Admissions
DX1198                            Chatterjee                ID, H, R, DUP of         http://wiki.etree.org/index.php?pag
                                                            DX1156                   e=AboutEtreeOrg (Last Accessed
                                                                                     November 4, 2021).
DX1199                                                                               Withdrawn
DX1200                                                                               Withdrawn
DX1201                                                                               Withdrawn
DX1202                            Chatterjee                         ID, R, ILL      Searchable ISRC database at
                                                                                     https://isrc.soundexchange.com/#!/
                                                                                     search
DX1203                            Chatterjee                             -           Price, D., “Sizing the Piracy
                                                                                     Universe,” NetNames, September
                                                                                     2013, p. 2, available
                                                                                     athttps://illusionofmore.com/wp-
                                                                                     content/uploads/2013/09/NetNam
                                                                                     es-Sizing_Piracy_Universe-Report-
                                                                                     2.5.pdf.

DX1204                            Leak, Strong                           R            Website Public Catalog, Under my
                                                                                      skin
DX1205                            Leak, Strong                             R          Website Public Catalog, E 1999
                                                                                      eternal
DX1206                            Leak, Strong                             R          Website Public Catalog, Williams on
                                                                                      Williams
DX1207                                                                                Withdrawn
DX1208                                                                                Withdrawn
DX1209                            Leak, Strong                         NB, ID, R      Article from The Verge titled This
                                                                                      was Sony Music's Contract with
                                                                                      Spotify
DX1210                            Leak, Strong                       H, R, 403-P      Dixie Chicks do things their way
DX1211                            Leak, Strong                  H, F, R, 403-C, 403-P Class Action Complaint

DX1212                            Leak, Strong                   NA, F, H, 403-P, R, Commercial ISPs spreadsheet
                                                                      NB, NTP
DX1213                            Leak, Strong                   NA, F, H, 403-P, R, Hash Report Spreadsheet
                                                                      NB, NTP
DX1214                            Lesser                              H, R, MIL      Jill Lesser LinkedIn profile
DX1215                                                                               Withdrawn
DX1216                            Lesser                          H, R, 403-P, MIL Copyright Alert System FAQs
DX1217                            Lesser                          H, R, 403-P, MIL Center for Copyright Information
                                                                                     FAQs
DX1218                            Lesser                             H, R, 403-P     Hearing Before the Subcommittee
                                                                                     on Courts, Intellectual Property, and
                                                                                     the Internet



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Exhibit     Date         Date              Witness               Objections/              Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                 Admissions
DX1219                                                                             Withdrawn
DX1220                            Lesser                        DUP of DX0774      Evaluation of the MarkMonitor
                                                                                   AntiPiracy System
DX1221                            Lesser                        H, F, 403-C, ID    Evaluation of the MarkMonitor
                                                                                   AntiPiracy System Executive
                                                                                   Summary
DX1222                            Lesser                          H, F, 403-C      Evaluation of the MarkMonitor
                                                                                   AntiPiracy System
DX1223                            Lesser                           H, R, MIL       Statement on the Copyright Alert
                                                                                   System
DX1224                            Lesser                               H           Harbor Labs SOW
DX1225                            Lesser                               H           Harbor Labs SOW
DX1226                            Lesser                               H           Habor Labs Consulting Agreement

DX1227                            Lesser                        H, 403-C, R, MIL   The Copyright Alert System: Moving
                                                                                   to Implementation
DX1228                            Lesser                          H, F, 403-C      The Copyright Alert System and Six
                                                                                   Strikes
DX1229                            Harrison                             -           Pre- and Post- Transaction Time
                                                                                   Warner Cable Corporate Structure
                                                                                   chart
DX1230                            TBD                                              Music Publisher Plaintiffs'
                                                                                   Responses to BHN's First Requests
                                                                                   for Admission
DX1231                            TBD                                              Record Company Plaintiffs'
                                                                                   Responses to BHN's First Requests
                                                                                   for Admission
DX1232                            TBD                                              Plaintiffs' Supplemental Responses
                                                                                   to BHN's Second Requests for
                                                                                   Admission
DX1233                            TBD                                              Plaintiffs' Responses to BHN's Third
                                                                                   Requests for Admission
DX1234                            TBD                                 LA           BHN Amended Response to
                                                                                   Plaintiffs' Interrogatory No. 14
DX1235                            TBD                                              Plaintiffs' Responses to BHN's First
                                                                                   Interrogatories
DX1236                            TBD                                              Recond Company Plaintiffs
                                                                                   Responses to BHN Second
                                                                                   Interrogatories
DX1237                            TBD                                              Music Publisher Plaintiffs' Second
                                                                                   Supplemental Responses to BHN's
                                                                                   Second Interrogatories




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Exhibit     Date         Date           Witness                 Objections/               Description of Exhibit
 No.      Identified   Admitted                                 Stipulated
                                                                Admissions
DX1238                            TBD                                              Plaintiffs' Supplemental Responses
                                                                                   to BHN's Third Interrogatories

DX1239                            TBD                                              Plaintiffs' Supplemental Responses
                                                                                   to BHN's Fourth Interrogatories

DX1240                            TBD                                              Plaintiffs' Supplemental Responses
                                                                                   to BHN's Fifth Interrogatories

DX1241                            Coleman                    H, F, R, 403-P, INC   Copyrights, What You Need to Know
                                                                                   This business of Christian Music

DX1242                            Coleman                    H, F, NA, R, 403-P,   Fighting for More Music Royalties
                                                                     INC
DX1243                            Coleman                    H, F, NA, R, 403-P,   Moore's Rowland International UK
                                                                     INC           Conference
DX1244                            TBD                        H, F, NA, R, 403-P    RIAA Case Against 14-Year-Old
                                                                                   Brittany Chan Dismissed
                                                                                   http://recordingindustryvspeople.bl
                                                                                   ogspot.com/2006/04/riaa-case-
                                                                                   against-14-year-old-brittany.html

DX1245                            TBD                        H, F, NA, R, 403-P    One Man's First Hand Account of
                                                                                   Being Put Through Hell by the RIAA
                                                                                   http://recordingindustryvspeople.bl
                                                                                   ogspot.com/2006/04/one-mans-
                                                                                   first-hand-account-of-being.html


DX1246                            TBD                        H, F, NA, R, 403-P    RIAA Wants to Depose Dead
                                                                                   Defendant's Children; But Will Allow
                                                                                   them 60 Days to "Grieve"
DX1247                            TBD                        H, F, NA, R, 403-P    RIAA Sues Grandmothers in
                                                                                   Kentucky
                                                                                   http://recordingindustryvspeople.bl
                                                                                   ogspot.com/2006/08/riaa-sues-
                                                                                   grandmothers-in-kentucky.html




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Exhibit     Date         Date           Witness                 Objections/              Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                Admissions
DX1248                            TBD                        H, F, NA, R, 403-P   Patti Santangelo's 16-year old son
                                                                                  Robert Counterclaims against the
                                                                                  RIAA for "failure to warn"
                                                                                  http://recordingindustryvspeople.bl
                                                                                  ogspot.com/2007/01/patti-
                                                                                  santangelos-16-year-old-son.html


DX1249                            TBD                        H, F, NA, R, 403-P   Judge Protects 10-year-old child:
                                                                                  Rules that Kylee Andersen's
                                                                                  Deposition Must be By Telephone
                                                                                  or Videoconference Only
                                                                                  http://recordingindustryvspeople.bl
                                                                                  ogspot.com/2007/03/judge-rules-
                                                                                  that-kylee-andersens.html


DX1250                            TBD                        H, F, NA, R, 403-P   Judge Awards $68,685.23 in
                                                                                  Attorneys Fees Against RIAA in
                                                                                  Capitol v. Foster
                                                                                  http://recordingindustryvspeople.bl
                                                                                  ogspot.com/2007/07/judge-awards-
                                                                                  68000-in-attorneys-fees.html

DX1251                            TBD                        H, F, NA, R, 403-P   RIAA Continues to Fight for $543 in
                                                                                  Attorneys Fees over Default
                                                                                  Judgment in Elektra v. Santangelo II
                                                                                  http://recordingindustryvspeople.bl
                                                                                  ogspot.com/2007/08/riaa-continues-
                                                                                  to-fight-for-543-in.html


DX1252                            TBD                        H, F, NA, R, 403-P   RIAA Has Now Targeted 7 Out of 8
                                                                                  Ivy League Schools; Still Gives
                                                                                  Harvard a Wide Berth
                                                                                  http://recordingindustryvspeople.bl
                                                                                  ogspot.com/2007/11/riaa-targets-7-
                                                                                  out-of-8-ivy-league.html




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Exhibit     Date         Date           Witness                 Objections/              Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                Admissions
DX1253                            TBD                        H, F, NA, R, 403-P   $107,834 attorneys fee award in
                                                                                  Atlantic v. Andersen affirmed by
                                                                                  District Judge
                                                                                  http://recordingindustryvspeople.bl
                                                                                  ogspot.com/2008/06/107834-
                                                                                  attorneys-fee-award-in-
                                                                                  atlantic.html
DX1254                            TBD                        H, F, NA, R, 403-P   RIAA's lawsuit against homeless
                                                                                  man not going entirely smoothly
                                                                                  https://boingboing.net/2008/04/18
                                                                                  /riaas-lawsuit-agains.html

DX1255                            TBD                        H, F, NA, R, 403-P   RIAA Sues Stroke Victim in Michigan
                                                                                  http://recordingindustryvspeople.bl
                                                                                  ogspot.com/2007/03/riaa-sues-
                                                                                  stroke-victim-in-michigan.html


DX1256                            TBD                        H, F, NA, R, 403-P   RIAA Insists on Deposing 10-Year old
                                                                                  Daughter of Disabled Woman
                                                                                  https://www.thorschrock.com/2007
                                                                                  /03/26/riaa-insists-on-deposing-10-
                                                                                  year-old-daughter-of-disabled-
                                                                                  woman/

DX1257                            TBD                        H, F, NA, R, 403-P   RIAA Spent $17.6 Million In
                                                                                  Lawsuits… To Get $391,000 In
                                                                                  Settlements?
                                                                                  https://www.techdirt.com/2010/07
                                                                                  /14/riaa-spent-17-6-million-in-
                                                                                  lawsuits-to-get-391000-in-
                                                                                  settlements/
DX1258                            TBD                        H, F, NA, R, 403-P   Woman Who Owned No Computer,
                                                                                  But Got Sued By The RIAA, 'Settles'
                                                                                  https://www.techdirt.com/2009/06
                                                                                  /19/woman-who-owned-no-
                                                                                  computer-but-got-sued-by-the-riaa-
                                                                                  settles/

DX1259                            TBD                        H, F, NA, R, 403-P   RIAA sues family that doesn't own a
                                                                                  PC
                                                                                  https://boingboing.net/2006/04/23
                                                                                  /riaa-sues-family-tha.html



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Exhibit     Date         Date           Witness                 Objections/              Description of Exhibit
 No.      Identified   Admitted                                  Stipulated
                                                                Admissions
DX1260                            TBD                        H, F, NA, R, 403-P   Mike Masnick: The RIAA Concedes
                                                                                  That It Has Sued People Over
                                                                                  Copyrights It Does Not Hold
                                                                                  https://celebrityaccess.com/2020/0
                                                                                  3/30/mike-masnick-the-riaa-
                                                                                  concedes-that-it-has-sued-people-
                                                                                  over-copyrights-it-does-not-hold/


DX1261                            TBD                        H, F, NA, R, 403-P   The 14 Most Ridiculous Lawsuits
                                                                                  Filed by the RIAA and the MPAA
                                                                                  https://www.brainz.org/14-most-
                                                                                  ridiculous-lawsuits-filed-riaa-and-
                                                                                  mpaa/

DX1262                            TBD                              403-C          Plaintiff's Responses to BHN's
                                                                                  Second Requests for Admission
DX1263                            TBD                               LA            BHN Supplemental Response to
                                                                                  Plaintiffs' First Interrogatories
DX1264                            TBD                                             Music Publisher Plaintiffs'
                                                                                  Responses to BHN Second
                                                                                  Interrogatories
DX1265                            TBD                            403-C, ID        Plaintiffs' Responses to Bright House
                                                                                  Networks LLC's Third Set of
                                                                                  Interrogatories to the Record
                                                                                  Company Plaintiffs
DX1266                            TBD                              403-C          Plaintiffs' Response to BHN's Fourth
                                                                                  Interrogatories
DX1267                            TBD                               ID            Plaintiffs' Supplemental Responses
                                                                                  to Bright House Networks LLC's
                                                                                  Second Set of Interrogatories to the
                                                                                  Music Publisher Plaintiffs

DX1268                            TBD                                             Plaintiffs' Responses to BHN Fifth
                                                                                  Interrogatories
DX1269                            TBD                               ID            Plaintiffs' Supplemental Responses
                                                                                  to Bright House Networks LLC's
                                                                                  Second Set of Interrogatories to the
                                                                                  Record Company Plaintiffs

DX1270                            TBD                         H, F, LA, 1006      Counts of Work-in-Suit Based on
                                                                                  Plaintiffs' Interrogatory Responses




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